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                            IN​ ​THE​ ​UNITED​ ​STATES​ ​DISTRICT​ ​COURT
                                  FOR​ ​THE​ ​DISTRICT​ ​OF​ ​COLUMBIA

____________________________________
RYAN​ ​BAGWELL                       )
                                     )
                   Plaintiff,        )
                                     )
            v.                       )                            Civil​ ​Action​ ​No.​ ​1:15-cv-00531​ ​(CRC)
                                     )
UNITED​ ​STATES​ ​DEPARTMENT​ ​OF )
JUSTICE                              )
                                     )
                   Defendant.        )
____________________________________)


 PLAINTIFF’S​ ​MEMORANDUM​ ​OF​ ​POINTS​ ​AND​ ​AUTHORITIES​ ​IN​ ​OPPOSITION
 TO​ ​DEFENDANT’S​ ​MOTION​ ​FOR​ ​SUMMARY​ ​JUDGMENT​ ​AND​ ​IN​ ​SUPPORT​ ​OF
          PLAINTIFF’S​ ​CROSS-MOTION​ ​FOR​ ​SUMMARY​ ​JUDGMENT

         Plaintiff​ ​Ryan​ ​Bagwell​ ​hereby​ ​opposes​ ​Defendant’s​ ​Renewed​ ​Motion​ ​for​ ​Summary

Judgment​ ​(ECF​ ​No.​ ​57)​ ​and​ ​cross-moves​ ​for​ ​summary​ ​judgment​ ​in​ ​this​ ​Freedom​ ​of​ ​Information

Act​ ​(“FOIA”)​ ​dispute.​ ​For​ ​reasons​ ​more​ ​fully​ ​explained​ ​below,​ ​Defendant​ ​has​ ​failed​ ​to​ ​prove​ ​the

withheld​ ​records​ ​of​ ​this​ ​federal​ ​investigation​ ​are​ ​exempt​ ​from​ ​the​ ​FOIA’s​ ​disclosure

requirements.​ ​Plaintiff​ ​asks​ ​that​ ​the​ ​court​ ​DENY​ ​Defendant’s​ ​motion​ ​and​ ​GRANT​ ​Plaintiff’s

motion.




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I.         FACTUAL​ ​BACKGROUND

                                                       The​ ​Sandusky​ ​“scandal”

           Following​ ​a​ ​years-long​ ​investigation,​ ​on​ ​November,​ ​5,​ ​2011,​ ​prosecutors​ ​with​ ​the

Pennsylvania​ ​Office​ ​of​ ​Attorney​ ​General​ ​(“OAG”)​ ​charged​ ​Gerald​ ​Sandusky,​ ​a​ ​former​ ​football

coach​ ​at​ ​The​ ​Pennsylvania​ ​State​ ​University(“PSU”),​ ​with​ ​multiple​ ​counts​ ​of​ ​child​ ​sexual​ ​abuse.

One​ ​of​ ​the​ ​allegations,​ ​perhaps​ ​the​ ​most​ ​notorious,​ ​involved​ ​an​ ​allegation​ ​by​ ​a​ ​PSU​ ​staff

member​ ​who​ ​claimed​ ​he​ ​witnessed​ ​Sandusky​ ​sodomizing​ ​a​ ​juvenile​ ​in​ ​a​ ​PSU​ ​locker​ ​room

shower​ ​in​ ​2001​ ​and​ ​reported​ ​the​ ​incident​ ​to​ ​then-Director​ ​of​ ​Athletics​ ​Timothy​ ​Curley​ ​and

then-Senior​ ​Vice​ ​President​ ​for​ ​Business​ ​and​ ​Finance​ ​Gary​ ​Schultz.​ ​Curley​ ​and​ ​Schultz​ ​were

charged​ ​with​ ​failing​ ​to​ ​report​ ​suspected​ ​child​ ​abuse​ ​at​ ​the​ ​same​ ​time​ ​Sandusky​ ​was​ ​charged.

           ​ ​The​ ​charges​ ​marked​ ​a​ ​period​ ​of​ ​crisis​ ​for​ ​PSU,​ ​a​ ​university​ ​with​ ​a​ ​reputation​ ​for​ ​both

academic​ ​and​ ​athletic​ ​excellence​ ​that​ ​was​ ​suddenly​ ​seen​ ​as​ ​an​ ​institution​ ​that​ ​prioritized​ ​athletic

success​ ​over​ ​the​ ​safety​ ​of​ ​children.​ ​National​ ​outrage​ ​over​ ​the​ ​allegations​ ​ensued​ ​and​ ​the​ ​public

began​ ​to​ ​pressure​ ​federal​ ​agencies​ ​to​ ​investigate​ ​the​ ​university.​ ​On​ ​November​ ​8,​ ​2011,​ ​a

Pennsylvania​ ​congressman​ ​called​ ​on​ ​the​ ​U.S.​ ​Department​ ​of​ ​Education​ ​(DOE)​ ​to​ ​determine​ ​if

any​ ​federal​ ​education​ ​laws​ ​were​ ​broken1.​ ​After​ ​four​ ​days​ ​of​ ​national​ ​outrage​ ​and​ ​mounting

pressure​ ​from​ ​the​ ​popular​ ​press,​ ​on​ ​November​ ​9,​ ​2011,​ ​PSU’s​ ​Board​ ​of​ ​Trustees​ ​fired​ ​then-PSU

President​ ​Graham​ ​Spanier​ ​and​ ​former​ ​PSU​ ​Football​ ​Coach​ ​Joseph​ ​Paterno2.

           As​ ​early​ ​as​ ​November​ ​11,​ ​2011,​ ​the​ ​Office​ ​of​ ​the​ ​U.S.​ ​Attorney​ ​for​ ​the​ ​Middle​ ​District​ ​of

Pennsylvania​ ​(USAOMDPA)​ ​began​ ​to​ ​receive​ ​hundreds​ ​of​ ​email​ ​petitions​ ​from​ ​citizens

throughout​ ​the​ ​country​ ​asking​ ​it​ ​to​ ​“[i]nvestigate​ ​violations​ ​of​ ​federal​ ​law​ ​by​ ​Jerry​ ​Sandusky



1
 ​ ​The​ ​education​ ​department​ ​announced​ ​it​ ​had​ ​initiated​ ​a​ ​program​ ​review​ ​of​ ​the​ ​university​ ​the​ ​next​ ​day.
2
  ​ ​Paterno​ ​died​ ​after​ ​battling​ ​lung​ ​cancer​ ​on​ ​January​ ​23,​ ​2012.
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(Exhibit​ ​A).​ ​As​ ​a​ ​result,​ ​on​ ​November​ ​14,​ ​2011,​ ​USAOMDPA​ ​released​ ​a​ ​public​ ​statement​ ​that

said​ ​it​ ​was​ ​supporting​ ​and​ ​assisting​ ​with​ ​the​ ​DOE’s​ ​investigation​ ​and​ ​offered​ ​to​ ​support​ ​the

OAG​ ​with​ ​its​ ​activities​ ​(Exhibit​ ​B).

          Notably,​ ​USAOMDPA​ ​did​ ​not​ ​state​ ​that​ ​it​ ​had​ ​begun​ ​its​ ​own​ ​inquiry​ ​at​ ​this​ ​time.

          On​ ​November​ ​22,​ ​2011,​ ​Penn​ ​State​ ​hired​ ​former​ ​FBI​ ​Director​ ​Louis​ ​J.​ ​Freeh​ ​and​ ​his​ ​law

firm,​ ​Freeh,​ ​Sporkin​ ​&​ ​Sullivan​ ​(“FSS”)​ ​to​ ​conduct​ ​an​ ​internal​ ​investigation​ ​into​ ​the​ ​state

criminal​ ​allegations​ ​and​ ​present​ ​his​ ​findings​ ​in​ ​the​ ​form​ ​of​ ​a​ ​public​ ​report3.

          On​ ​June​ ​22,​ ​2012,​ ​Sandusky​ ​was​ ​convicted​ ​of​ ​most​ ​of​ ​the​ ​charges​ ​against​ ​him​ ​and

sentenced​ ​to​ ​at​ ​least​ ​30​ ​years​ ​in​ ​prison.​ ​Notably,​ ​he​ ​was​ ​found​ ​not​ ​guilty​ ​on​ ​the​ ​charge​ ​of

sodomizing​ ​a​ ​juvenile​ ​in​ ​a​ ​PSU​ ​shower.

          On​ ​July​ ​12,​ ​2012,​ ​Louis​ ​J.​ ​Freeh​ ​presented​ ​FSS’s​ ​findings​ ​to​ ​the​ ​public​ ​at​ ​a​ ​live,

televised​ ​press​ ​conference4.​ ​In​ ​his​ ​prepared​ ​remarks,​ ​Freeh​ ​stated,​ ​“our​ ​work​ ​was​ ​done​ ​in​ ​parallel

with​ ​several​ ​other​ ​active​ ​investigations​ ​by​ ​agencies​ ​and​ ​governmental​ ​authorities,​ ​including​ ​the

…​ ​United​ ​States​ ​Attorney​ ​...​ ​We​ ​continuously​ ​interfaced​ ​and​ ​cooperated​ ​with​ ​those​ ​agencies”

(Exhibit​ ​C).​ ​On​ ​or​ ​about​ ​November​ ​11,​ ​2012,​ ​OAG​ ​prosecutors​ ​announced​ ​additional​ ​charges

against​ ​Curley​ ​and​ ​Schultz,​ ​and​ ​for​ ​the​ ​first​ ​time​ ​charged​ ​Spanier​ ​with​ ​related​ ​crimes.

          The​ ​criminal​ ​prosecution​ ​of​ ​the​ ​PSU​ ​administrators​ ​continued​ ​for​ ​years.​ ​On​ ​January​ ​23,

2016,​ ​a​ ​state​ ​appellate​ ​court​ ​dismissed​ ​most​ ​of​ ​the​ ​charges​ ​against​ ​the​ ​former​ ​PSU

administrators,​ ​which​ ​paved​ ​the​ ​way​ ​for​ ​the​ ​few​ ​remaining​ ​charges​ ​to​ ​head​ ​to​ ​trial.




3
 ​ ​http://abcnews.go.com/US/penn-state-hires-fbi-director-louis-freeh-investigate/story?id=14999351
4
  ​ ​https://www.washingtonpost.com/sports/2012/07/12/gJQAfVoMfW_story.html
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          On​ ​March​ ​13,​ ​2017,​ ​just​ ​days​ ​before​ ​their​ ​trial​ ​was​ ​scheduled​ ​to​ ​begin,​ ​Curley​ ​and

Schultz​ ​each​ ​pleaded​ ​guilty​ ​to​ ​one​ ​count​ ​of​ ​endangering​ ​the​ ​welfare​ ​of​ ​a​ ​child.​ ​Spanier’s​ ​case

continued​ ​to​ ​trial.

          On​ ​March​ ​24,​ ​2017,​ ​after​ ​deliberating​ ​for​ ​two​ ​days,​ ​a​ ​jury​ ​found​ ​Spanier​ ​guilty​ ​of​ ​one

count​ ​of​ ​child​ ​endangerment;​ ​not​ ​guilty​ ​on​ ​a​ ​second​ ​count,​ ​and;​ ​not​ ​guilty​ ​of​ ​a​ ​related​ ​conspiracy

charge.​ ​On​ ​June​ ​3,​ ​2017,​ ​all​ ​three​ ​men​ ​were​ ​sentenced​ ​to​ ​a​ ​period​ ​of​ ​jail​ ​time​ ​and​ ​house​ ​arrest.

Spanier​ ​appealed​ ​his​ ​conviction​ ​to​ ​Pennsylvania​ ​Superior​ ​Court,​ ​an​ ​intermediate​ ​appellate​ ​body.

Curley​ ​and​ ​Schultz​ ​did​ ​not​ ​appeal.​ ​The​ ​have​ ​been​ ​serving​ ​their​ ​sentences​ ​since​ ​June​ ​15,​ ​2017

and​ ​are​ ​now​ ​reportedly​ ​confined​ ​to​ ​house​ ​arrest.

          Following​ ​his​ ​conviction,​ ​Sandusky​ ​pursued​ ​and​ ​exhausted​ ​his​ ​direct​ ​appellate​ ​rights.​ ​In

June​ ​2014,​ ​Sandusky​ ​initiated​ ​an​ ​indirect​ ​appeal​ ​pursuant​ ​to​ ​Pennsylvania’s​ ​Post​ ​Conviction

Relief​ ​Act​ ​(“PCRA”),​ ​a​ ​process​ ​permitted​ ​by​ ​state​ ​statute​ ​that​ ​allows​ ​a​ ​convicted​ ​person​ ​to​ ​seek

a​ ​new​ ​trial​ ​based​ ​on​ ​issues​ ​of​ ​constitutional​ ​violations,​ ​ineffective​ ​counsel​ ​or​ ​the​ ​discovery​ ​of

new​ ​evidence.

          On​ ​October​ ​18,​ ​2017,​ ​a​ ​state​ ​judge​ ​dismissed​ ​Sandusky’s​ ​PCRA​ ​petition​ ​and​ ​declined​ ​to

order​ ​a​ ​new​ ​trial.​ ​As​ ​of​ ​the​ ​time​ ​of​ ​this​ ​filing,​ ​Sandusky​ ​has​ ​not​ ​appealed​ ​the​ ​judge’s​ ​decision.

          Despite​ ​the​ ​vigorous​ ​and​ ​multi-year​ ​prosecution​ ​of​ ​Sandusky​ ​and​ ​the​ ​former​ ​PSU

administrators​ ​by​ ​state​ ​authorities,​ ​no​ ​criminal​ ​charges​ ​were​ ​ever​ ​brought​ ​by​ ​USAOMDPA​ ​or

any​ ​other​ ​federal​ ​law​ ​enforcement​ ​agency.

                                                 Plaintiff’s​ ​FOIA​ ​Request

          On​ ​April​ ​30,​ ​2014,​ ​Plaintiff​ ​sent​ ​his​ ​FOIA​ ​request​ ​to​ ​Executive​ ​Office​ ​of​ ​United​ ​States

Attorneys​ ​(“EOUSA”),​ ​a​ ​subcomponent​ ​of​ ​Defendant,​ ​seeking​ ​“access​ ​to​ ​any​ ​and​ ​all​ ​records​ ​of



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investigations​ ​between​ ​November​ ​1,​ ​2011​ ​and​ ​[April​ ​30,​ ​2014]​ ​that​ ​pertain​ ​to​ ​allegations​ ​of

child​ ​sexual​ ​abuse​ ​that​ ​occurred​ ​on​ ​the​ ​campus​ ​of​ ​The​ ​Pennsylvania​ ​State​ ​University”.​ ​EOUSA

denied​ ​the​ ​request.​ ​Plaintiff​ ​successfully​ ​appealed​ ​the​ ​denial​ ​administratively,​ ​and​ ​the​ ​request

was​ ​remanded​ ​to​ ​EOUSA​ ​to​ ​process​ ​Plaintiff’s​ ​FOIA​ ​request5.

                                                     Plaintiff’s​ ​FOIA​ ​litigation

           Despite​ ​the​ ​remand​ ​order,​ ​EOUSA​ ​failed​ ​to​ ​process​ ​the​ ​request.​ ​As​ ​a​ ​result,​ ​plaintiff​ ​filed

the​ ​instant​ ​action​ ​on​ ​April​ ​8,​ ​2015.​ ​A​ ​few​ ​weeks​ ​after​ ​commencing​ ​the​ ​litigation,​ ​EOUSA

released​ ​about​ ​517​ ​pages​ ​of​ ​records​ ​that​ ​consisted​ ​almost​ ​entirely​ ​of​ ​newspaper​ ​articles,​ ​a​ ​copy

of​ ​the​ ​Freeh​ ​Report​ ​and​ ​half​ ​of​ ​an​ ​additional​ ​copy​ ​of​ ​the​ ​Freeh​ ​Report.​ ​It​ ​withheld​ ​104​ ​pages​ ​of

records,​ ​and​ ​further​ ​stated​ ​it​ ​withholding​ ​an​ ​unknown​ ​number​ ​of​ ​pages​ ​of​ ​information​ ​described

as​ ​“grand​ ​jury​ ​material​ ​which​ ​is​ ​retained​ ​in​ ​the​ ​District.”

           Both​ ​sides​ ​moved​ ​for​ ​summary​ ​judgment.​ ​On​ ​March​ ​3,​ ​2016,​ ​the​ ​Court​ ​found​ ​the​ ​104

pages​ ​of​ ​records​ ​were​ ​properly​ ​withheld,​ ​but​ ​denied​ ​summary​ ​judgment​ ​with​ ​regard​ ​to​ ​all​ ​other

records.​ ​It​ ​further​ ​ordered​ ​Defendant​ ​to​ ​file​ ​a​ ​Vaughn​​ ​index​ ​and​ ​produce​ ​any​ ​releasable​ ​records

within​ ​six​ ​months.

           Having​ ​been​ ​ordered​ ​to​ ​produce​ ​any​ ​releasable​ ​material,​ ​Defendant​ ​then​ ​demanded

thousands​ ​of​ ​dollars​ ​in​ ​fees​ ​from​ ​Plaintiff​ ​before​ ​it​ ​would​ ​complete​ ​its​ ​search.​ ​Plaintiff​ ​filed

fee-waiver​ ​requests,​ ​which​ ​were​ ​denied.​ ​Plaintiff​ ​moved​ ​the​ ​Court​ ​to​ ​grant​ ​his​ ​fee-waiver

request.​ ​Following​ ​a​ ​hearing​ ​with​ ​the​ ​Court,​ ​Defendant​ ​dropped​ ​its​ ​opposition​ ​to​ ​Plaintiff’s

fee-waiver​ ​request​ ​on​ ​October​ ​13,​ ​2016.




5
 ​ ​Specifically,​ ​Defendant’s​ ​Office​ ​of​ ​Information​ ​Policy​ ​ordered​ ​EOUSA​ ​to​ ​(1)​ ​reopen​ ​the​ ​matter;​ ​(2)​ ​search​ ​for
records​ ​responsive​ ​to​ ​Plaintiff’s​ ​request,​ ​and;​ ​(3)​ ​send​ ​any​ ​releasable​ ​records​ ​directly​ ​to​ ​Plaintiff.


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          The​ ​Court​ ​established​ ​another​ ​production​ ​schedule​ ​on​ ​October​ ​27,​ ​2016,​ ​ordering

Defendant​ ​to​ ​release​ ​any​ ​non-exempt​ ​emails​ ​between​ ​Defendant​ ​and​ ​employees​ ​of​ ​FSS​ ​no​ ​later

than​ ​November​ ​30,​ ​2016.​ ​It​ ​also​ ​ordered​ ​Defendant​ ​to​ ​complete​ ​production​ ​of​ ​responsive,

non-exempt​ ​records​ ​in​ ​their​ ​entirety​ ​by​ ​May​ ​1,​ ​2017.​ ​Id​.

          On​ ​May​ ​1,​ ​2017,​ ​Defendant​ ​summarized​ ​its​ ​production​ ​efforts​ ​in​ ​a​ ​Joint​ ​Status​ ​Report​ ​as

follows:

                1. 120,000​ ​pages​ ​were​ ​reviewed;

                2. 90,000​ ​pages​ ​were​ ​not​ ​responsive;

                3. 329​ ​“docs”​ ​were​ ​referred​ ​to​ ​various​ ​agencies​ ​that​ ​included:

                           a. ​ ​Federal​ ​Bureau​ ​of​ ​Investigation​ ​(“FBI”);

                           b. U.S.​ ​Office​ ​of​ ​Personnel​ ​Management​ ​(“OPM”);

                           c. Immigration​ ​and​ ​Customs​ ​Enforcement​ ​(“ICE”);

                           d. Department​ ​of​ ​Education​ ​(“DOE”),​ ​and;

                           e. U.S.​ ​Postal​ ​Inspection​ ​Service​ ​(“USPIS”).

                4. 1,870​ ​pages​ ​of​ ​records​ ​were​ ​released​ ​in​ ​full​ ​or​ ​in​ ​part,​ ​and;

                5. 1,420​ ​pages​ ​were​ ​withheld​ ​in​ ​full.

(ECF​ ​No.​ ​42).

          On​ ​May​ ​30,​ ​2017,​ ​OPM​ ​told​ ​Plaintiff​ ​it​ ​was​ ​withholding​ ​documents​ ​related​ ​to​ ​Spanier

pursuant​ ​to​ ​(b)(6)​ ​and​ ​(b)(7)(C)​ ​(Exhibit​ ​D).​ ​On​ ​May​ ​24,​ ​2017,​ ​the​ ​FBI​ ​told​ ​Plaintiff​ ​it​ ​released

45​ ​pages​ ​to​ ​Plaintiff​ ​in​ ​full​ ​or​ ​in​ ​part​ ​and​ ​withheld​ ​15​ ​in​ ​full​ ​(Exhibit​ ​E).​ ​On​ ​July​ ​17,​ ​2017,

Plaintiff​ ​received​ ​a​ ​letter​ ​from​ ​USPIS​ ​that​ ​stated​ ​7​ ​pages​ ​of​ ​information​ ​were​ ​being​ ​released​ ​in

full​ ​or​ ​in​ ​part,​ ​and​ ​28​ ​pages​ ​of​ ​information​ ​were​ ​being​ ​withheld​ ​in​ ​full.​ ​(Exhibit​ ​F).​ ​On​ ​July​ ​24,



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2017,​ ​ICE​ ​informed​ ​Plaintiff​ ​that​ ​EOUSA​ ​had​ ​referred​ ​1​ ​document​ ​to​ ​it​ ​for​ ​potential​ ​release,​ ​and

that​ ​portions​ ​were​ ​redacted​ ​(Exhibit​ ​G).​ ​Plaintiff​ ​has​ ​not​ ​received​ ​any​ ​response​ ​from​ ​DOE.

II.       ARGUMENT

          Summary​ ​judgment​ ​is​ ​appropriate​ ​when​ ​there​ ​is​ ​no​ ​genuine​ ​issue​ ​as​ ​to​ ​the​ ​material​ ​facts,

and​ ​the​ ​moving​ ​party​ ​demonstrates​ ​it​ ​is​ ​entitled​ ​to​ ​judgment​ ​as​ ​a​ ​matter​ ​of​ ​law.​ ​Fed.​ ​R.​ ​Civ.​ ​P.

56;​ ​Diamond​ ​v.​ ​Atwood​,​ ​43​ ​F.3d​ ​1538,​ ​1540​ ​(D.C.​ ​Cir.​ ​1995).​ ​FOIA​ ​lawsuits​ ​are​ ​typically

resolved​ ​on​ ​cross-motions​ ​for​ ​summary​ ​judgment.​ ​Reliant​ ​Energy​ ​Power​ ​Generation​ ​v.​ ​FERC​,

520​ ​F.​ ​Supp.​ ​2d​ ​194,​ ​200​ ​(D.D.C.​ ​2007).​ ​A​ ​court​ ​reviews​ ​agency​ ​handling​ ​of​ ​a​ ​FOIA​ ​request​ ​de

novo​.​ ​5​ ​U.S.C.​ ​§​ ​552(a)(4)(B);​ ​Miller​ ​v.​ ​Casey​,​ ​730​ ​F.2d​ ​773,​ ​776​ ​(D.C.​ ​Cir.​ ​1984).

          The​ ​government​ ​bears​ ​the​ ​burden​ ​to​ ​establish​ ​that​ ​its​ ​claimed​ ​exemptions​ ​apply​ ​to​ ​each

document​ ​for​ ​which​ ​it​ ​invokes​ ​an​ ​exemption.​ ​Am.​ ​Civil​ ​Liberties​ ​Union​ ​v.​ ​U.S.​ ​Dep’t​ ​of​ ​Def.​,

628​ ​F.3d​ ​612,​ ​619,​ ​393​ ​U.S.​ ​App.​ ​D.C.​ ​384​ ​(D.C.​ ​Cir.​ ​2011).​ ​The​ ​government​ ​cannot​ ​satisfy​ ​its

burden​ ​with​ ​affidavits​ ​that​ ​are​ ​vague​ ​or​ ​conclusory,​ ​or​ ​merely​ ​parrot​ ​the​ ​statutory​ ​standard.

Consumer​ ​Fed’n​ ​of​ ​Am.​ ​v.​ ​U.S.​ ​Dep’t​ ​of​ ​Agric.​,​ ​455​ ​F.3d​ ​283,​ ​287,​ ​372​ ​U.S.​ ​App.​ ​D.C.​ ​198

(D.C.​ ​Cir.​ ​2006).​ ​Evidentiary​ ​declarations​ ​must​ ​describe​ ​the​ ​justifications​ ​for​ ​withholding​ ​in

“specific​ ​detail,​ ​demonstrate[ing]​ ​that​ ​the​ ​information​ ​withheld​ ​logically​ ​falls​ ​within​ ​the​ ​claimed

exemption.”​ ​Am.​ ​Civil​ ​Liberties​ ​Union​,​ ​628​ ​F.3d​ ​at​ ​619.​ ​“When​ ​demonstrating​ ​that​ ​a​ ​FOIA

exemption​ ​applies​ ​to​ ​some​ ​portion​ ​of​ ​a​ ​document​ ​withheld,​ ​the​ ​agency​ ​must​ ​also​ ​provide​ ​a

detailed​ ​justification​ ​for​ ​its​ ​non-segregability,”​ ​Johnson​ ​v.​ ​Exec.​ ​Office​ ​for​ ​U.S.​ ​Attorneys​,​ ​310

F.3d​ ​771,​ ​776,​ ​354​ ​U.S.​ ​App.​ ​D.C.​ ​49​ ​(D.C.​ ​Cir.​ ​2002),​ ​and​ ​the​ ​agency​ ​should​ ​“describe​ ​what

portion​ ​of​ ​the​ ​information​ ​is​ ​non-exempt​ ​and​ ​how​ ​that​ ​material​ ​is​ ​dispersed​ ​throughout​ ​the




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document,”​ ​Mead​ ​Data​ ​Cent.,​ ​Inc.​ ​v.​ ​U.S.​ ​Dep't​ ​of​ ​Air​ ​Force​,​ ​566​ ​F.2d​ ​242,​ ​261,​ ​184​ ​U.S.​ ​App.

D.C.​ ​350​ ​(D.C.​ ​Cir.​ ​1997).

          A.        Defendant​ ​has​ ​failed​ ​to​ ​establish​ ​the​ ​adequacy​ ​of​ ​its​ ​email​ ​search.

          Agencies​ ​have​ ​the​ ​burden​ ​to​ ​demonstrate​ ​they​ ​made​ ​a​ ​“good​ ​faith​ ​effort​ ​to​ ​conduct​ ​a

search​ ​…​ ​using​ ​methods​ ​which​ ​can​ ​be​ ​reasonably​ ​expected​ ​to​ ​produce​ ​the​ ​information

requested.”​ ​ ​DiBacco​ ​v.​ ​U.S.​ ​Army​,​ ​795​ ​F.3d​ ​178​ ​(D.C.​ ​Cir.​ ​2015),​ ​citing​ ​Oglesby​ ​v.​ ​Department

of​ ​Army​,​ ​920​ ​F.2d​ ​57,​ ​61-62,​ ​287​ ​U.S.App.D.C.​ ​126​ ​(D.C.​ ​Cir.​ ​1990).​ ​When​ ​search​ ​terms​ ​are

used​ ​to​ ​locate​ ​electronic​ ​records,​ ​the​ ​agency​ ​must​ ​produce​ ​a​ ​“reasonably​ ​detailed”​ ​affidavit​ ​that

describes​ ​the​ ​terms​ ​used​ ​and​ ​the​ ​type​ ​of​ ​search​ ​performed.​ ​Id​.,​ ​citing​ ​Valencia-Lucena​ ​v.​ ​United

States​ ​Coast​ ​Guard​,​ ​180​ ​F.3d​ ​at​ ​326​ ​U.S.App.D.C.​ ​386​ ​(D.C.​ ​Cir.​ ​1999).​ ​If​ ​the​ ​record​ ​raises

“substantial​ ​doubt”​ ​about​ ​the​ ​adequacy​ ​of​ ​the​ ​agency’s​ ​search,​ ​“​particularly​ ​in​ ​view​ ​of​ ​well

defined​ ​requests​ ​and​ ​positive​ ​indications​ ​of​ ​overlooked​ ​materials,”​ ​summary​ ​judgment​ ​should​ ​be

denied.​ ​Id​.​ ​(internal​ ​quotation​ ​marks​ ​omitted).

          The​ ​Second​ ​Declaration​ ​of​ ​D.​ ​Brian​ ​Simpson​ ​(Second​ ​Simpson​ ​Decl.)​ ​describes​ ​the

search​ ​for​ ​e-mails​ ​conducted​ ​by​ ​the​ ​district​ ​office.​ ​The​ ​email​ ​accounts​ ​of​ ​six​ ​employees​ ​were

searched​ ​using​ ​four​ ​terms:​ ​“Pennsylvania​ ​State​ ​University,”​ ​“Child​ ​sexual​ ​abuse​ ​and

Pennsylvania​ ​State​ ​University,”​ ​“Sandusky,”​ ​and​ ​“Freeh”.​ ​Second​ ​Simpson​ ​Decl.​ ​¶​ ​11,​ ​12.​ ​This

short​ ​list​ ​of​ ​search​ ​terms​ ​is​ ​inadequate​ ​for​ ​several​ ​reasons.

          First,​ ​the​ ​terms​ ​terms​ ​would​ ​not​ ​be​ ​likely​ ​to​ ​uncover​ ​all​ ​e-mails​ ​concerning​ ​the

investigations​ ​because​ ​much​ ​of​ ​Defendant’s​ ​investigation​ ​appears​ ​to​ ​have​ ​been​ ​focused​ ​on​ ​the

actions​ ​of​ ​people​ ​involved​ ​in​ ​The​ ​Second​ ​Mile​ ​(“TSM”),​ ​the​ ​charity​ ​founded​ ​by​ ​Sandusky,

instead​ ​of​ ​on​ ​PSU​ ​or​ ​even​ ​Sandusky​ ​himself.​ ​Sandusky’s​ ​official​ ​involvement​ ​with​ ​the​ ​charity



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ended​ ​years​ ​before​ ​Defendant’s​ ​investigation​ ​commenced,​ ​so​ ​it​ ​is​ ​unlikely​ ​that​ ​his​ ​name​ ​would

appear​ ​in​ ​most​ ​emails.​ ​FSS​ ​did​ ​not​ ​examine​ ​the​ ​conduct​ ​of​ ​TSM,​ ​and​ ​it’s​ ​unlikely​ ​that

employees​ ​of​ ​FSS​ ​would​ ​have​ ​used​ ​any​ ​of​ ​the​ ​search​ ​terms​ ​in​ ​their​ ​e-mail​ ​communications​ ​with

Defendant.​ ​Therefore,​ ​it​ ​is​ ​unlikely​ ​that​ ​“Freeh”​ ​would​ ​be​ ​present​ ​in​ ​most​ ​e-mails​ ​pertaining​ ​to

this​ ​investigation.​ ​Finally,​ ​since​ ​PSU​ ​used​ ​outside​ ​counsel​ ​for​ ​much​ ​of​ ​its​ ​legal​ ​work​ ​related​ ​to

this​ ​matter,​ ​Pennsylvania​ ​State​ ​University​ ​wouldn’t​ ​likely​ ​be​ ​present​ ​in​ ​many​ ​of​ ​those​ ​emails.

          The​ ​search​ ​terms​ ​are​ ​further​ ​inadequate​ ​because​ ​they​ ​presume​ ​that​ ​USAO​ ​employees

always​ ​used​ ​the​ ​full,​ ​proper​ ​name​ ​of​ ​PSU​ ​(“Pennsylvania​ ​State​ ​University”),​ ​when​ ​the​ ​school​ ​is

typically​ ​referred​ ​to​ ​simply​ ​as​ ​“Penn​ ​State”​ ​or​ ​abbreviated​ ​as​ ​PSU.

          Third,​ ​they​ ​presume​ ​that​ ​every​ ​e-mail​ ​contained​ ​at​ ​least​ ​one​ ​of​ ​only​ ​four​ ​words​ ​or

phrases,​ ​when​ ​it​ ​seems​ ​clear​ ​that​ ​many​ ​or​ ​even​ ​most​ ​email​ ​communications​ ​would​ ​not​ ​contain

any​ ​of​ ​them.

          Plaintiff​ ​outlined​ ​his​ ​concerns​ ​about​ ​using​ ​such​ ​a​ ​short​ ​list​ ​of​ ​terms​ ​in​ ​a​ ​letter​ ​to

Defendant​ ​dated​ ​February​ ​26,​ ​2016​ ​(Exhibit​ ​N).​ ​Therein,​ ​he​ ​suggested​ ​Defendant​ ​should​ ​review

the​ ​investigation(s)​ ​that​ ​were​ ​the​ ​subject​ ​of​ ​the​ ​request​ ​and​ ​compile​ ​a​ ​list​ ​of​ ​terms​ ​that​ ​reflect​ ​the

nature​ ​and​ ​circumstances​ ​of​ ​those​ ​investigations.​ ​A​ ​prudent​ ​search​ ​would​ ​have​ ​included​ ​such

terms​ ​as​ ​the​ ​names​ ​of​ ​investigators,​ ​case​ ​numbers,​ ​victim/witness/target​ ​names​ ​and​ ​the​ ​names​ ​of

witnesses’​ ​attorneys.​ ​Plaintiff​ ​even​ ​suggested​ ​14​ ​search​ ​terms​ ​based​ ​on​ ​his​ ​limited​ ​knowledge​ ​of

Defendant’s​ ​investigation​ ​that​ ​should​ ​have​ ​been​ ​used,​ ​but​ ​those​ ​suggestions​ ​were​ ​apparently

ignored.

          Finally,​ ​the​ ​fact​ ​that​ ​Defendant​ ​produced​ ​only​ ​two​ ​e-mails​ ​with​ ​employees​ ​of​ ​FSS

demonstrates​ ​the​ ​shortcomings​ ​of​ ​Defendant’s​ ​search.​ ​Louis​ ​Freeh​ ​stated​ ​publicly​ ​that​ ​his​ ​firm



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“continuously​ ​interfaced​ ​and​ ​cooperated”​ ​with​ ​several​ ​federal​ ​agencies,​ ​one​ ​of​ ​which​ ​was​ ​the

United​ ​States​ ​Attorney.​ ​A​ ​firm​ ​that​ ​interacted​ ​continuously​ ​with​ ​a​ ​federal​ ​agency​ ​over​ ​the​ ​course

of​ ​9​ ​months​ ​would​ ​generate​ ​far​ ​more​ ​e-mail​ ​traffic​ ​than​ ​two​ ​communications.​ ​This​ ​is​ ​precisely

the​ ​type​ ​of​ ​“positive​ ​[indication]​ ​of​ ​overlooked​ ​materials”​ ​that​ ​should​ ​be​ ​grounds​ ​for​ ​denying

summary​ ​judgment.​ ​Valencia-Lucena,​ ​supra.

          B.        Defendant​ ​has​ ​failed​ ​to​ ​prove​ ​that​ ​records​ ​referred​ ​to​ ​other​ ​agencies​ ​are
                    exempt​ ​from​ ​the​ ​FOIA’s​ ​disclosure​ ​requirements.

          Under​ ​the​ ​FOIA,​ ​Courts​ ​are​ ​authorized​ ​to​ ​order​ ​the​ ​release​ ​of​ ​“agency​ ​records.”​ ​ ​5​ ​U.S.C.

§​ ​552(a)(4)(B).​ ​Government​ ​information​ ​is​ ​an​ ​“agency​ ​record”​ ​if​ ​(1)​ ​the​ ​agency​ ​created​ ​or

obtained​ ​the​ ​material,​ ​and​ ​(2)​ ​it​ ​was​ ​in​ ​control​ ​of​ ​the​ ​subject​ ​material​ ​when​ ​the​ ​FOIA​ ​request

was​ ​made.​ ​U.S.​ ​Dep’t​ ​of​ ​Justice​ ​v.​ ​Tax​ ​Analysts​,​ ​492​ ​U.S.​ ​136,​ ​144-45​ ​(1989).​ ​An​ ​agency

“controls”​ ​a​ ​record​ ​if​ ​the​ ​material​ ​has​ ​“come​ ​into​ ​the​ ​agency’s​ ​possession​ ​in​ ​the​ ​legitimate

conduct​ ​of​ ​its​ ​official​ ​duties.”​ ​Id​.​ ​There​ ​is​ ​no​ ​dispute​ ​that​ ​Defendant​ ​obtained​ ​the​ ​referred

records​ ​in​ ​the​ ​ordinary​ ​course​ ​of​ ​official​ ​business.​ ​Therefore,​ ​the​ ​documents​ ​referred​ ​to​ ​other

agencies​ ​are​ ​“agency​ ​records”​ ​of​ ​Defendant.

          Agencies​ ​cannot​ ​simply​ ​refer​ ​their​ ​records​ ​to​ ​other​ ​agencies​ ​as​ ​a​ ​matter​ ​of​ ​course​ ​but

must​ ​show​ ​that​ ​the​ ​procedure​ ​is​ ​reasonable​ ​under​ ​the​ ​circumstances.​ ​See​ ​McGehee​ ​v.​ ​CIA​,​ ​697

F.2d​ ​1095,​ ​1110​ ​(D.C.​ ​Cir.1983).​ ​The​ ​agency​ ​has​ ​a​ ​duty​ ​to​ ​process​ ​a​ ​request​ ​for​ ​records,​ ​even

when​ ​they​ ​originate​ ​from​ ​another​ ​agency.​ ​The​ ​agency​ ​may​ ​only​ ​“acquit​ ​itself​ ​through​ ​a​ ​referral,

provided​ ​the​ ​referral​ ​does​ ​not​ ​lead​ ​to​ ​improper​ ​withholding​ ​under​ ​the​ ​McGehee​ ​test.”​ ​ ​Sussman

v.​ ​U.S.​ ​Marshals​,​ ​494​ ​F.3d​ ​1106,​ ​1118​ ​(D.C.​ ​Cir.​ ​2007).

          When​ ​an​ ​agency​ ​acts​ ​under​ ​its​ ​referral​ ​process,​ ​the​ ​referral​ ​constitutes​ ​a​ ​“withholding”​ ​if

the​ ​“net​ ​effect”​ ​of​ ​the​ ​process​ ​“is​ ​significantly​ ​to​ ​impair​ ​the​ ​requester's​ ​ability​ ​to​ ​obtain​ ​the

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records​ ​or​ ​significantly​ ​to​ ​increase​ ​the​ ​amount​ ​of​ ​time​ ​he​ ​must​ ​wait​ ​to​ ​obtain​ ​them.”​ ​McGehee​,

1095,​ ​1110.​ ​A​ ​withholding​ ​on​ ​referral​ ​grounds​ ​is​ ​“improper”​ ​unless​ ​the​ ​agency​ ​can​ ​demonstrate

that​ ​the​ ​process​ ​“​significantly​ ​improves​ ​the​ ​quality​ ​of​ ​the​ ​process​ ​whereby​ ​the​ ​government

determines​ ​whether​ ​all​ ​or​ ​portions​ ​of​ ​responsive​ ​documents​ ​are​ ​exempt​ ​from​ ​disclosure.”​ ​Id​.​ ​A

procedure​ ​that​ ​results​ ​in​ ​“very​ ​long​ ​delays”​ ​will​ ​be​ ​highly​ ​difficult​ ​to​ ​justify.​ ​Id​.

          Here,​ ​Defendant​ ​referred​ ​records​ ​to​ ​five​ ​other​ ​agencies​ ​for​ ​review​ ​and​ ​potential​ ​release

directly​ ​to​ ​Plaintiff.​ ​One​ ​agency,​ ​DOE,​ ​still​ ​hasn’t​ ​responded.​ ​Since​ ​no​ ​response​ ​has​ ​been

received,​ ​records​ ​referred​ ​to​ ​DOE​ ​have​ ​been​ ​improperly​ ​withheld.

          As​ ​for​ ​records​ ​of​ ​the​ ​FBI,​ ​OPM,​ ​USPIS​ ​and​ ​ICE,​ ​Defendant​ ​has​ ​failed​ ​to​ ​submit​ ​any

evidentiary​ ​support​ ​or​ ​argument​ ​to​ ​support​ ​the​ ​agencies’​ ​contentions​ ​that​ ​the​ ​referred

information​ ​was​ ​properly​ ​withheld.

          C.        Defendant​ ​has​ ​failed​ ​to​ ​prove​ ​that​ ​records​ ​received​ ​from​ ​the​ ​Pennsylvania
                    Office​ ​of​ ​Attorney​ ​General​ ​may​ ​be​ ​withheld.

          Defendant​ ​is​ ​withholding​ ​approximately​ ​243,000​ ​pages​ ​of​ ​records​ ​received​ ​by​ ​OAG.

Simpson​ ​Decl.​ ​at​ ​46.​ ​Defendant​ ​cites​ ​Exemption​ ​7(A)​ ​as​ ​the​ ​sole​ ​reason​ ​for​ ​the​ ​withholding.

          Exemption​ ​7(A)​ ​of​ ​the​ ​FOIA​ ​protects​ ​“records​ ​or​ ​information​ ​compiled​ ​for​ ​law

enforcement​ ​purposes,​ ​but​ ​only​ ​to​ ​the​ ​extent​ ​that​ ​the​ ​production​ ​of​ ​such​ ​law​ ​enforcement​ ​records

or​ ​information​ ​could​ ​reasonably​ ​be​ ​expected​ ​to​ ​interfere​ ​with​ ​enforcement​ ​proceedings.”​ ​5

U.S.C.​ ​§552​ ​(b)(7)(A).​ ​Its​ ​purpose​ ​is​ ​to​ ​“prevent​ ​disclosures​ ​which​ ​might​ ​prematurely​ ​reveal​ ​the

government’s​ ​cases​ ​in​ ​court,​ ​its​ ​evidence​ ​and​ ​strategies,​ ​or​ ​the​ ​nature,​ ​scope,​ ​direction,​ ​and​ ​focus

of​ ​its​ ​investigations,​ ​and​ ​thereby​ ​enable​ ​suspects​ ​to​ ​establish​ ​defenses​ ​or​ ​fraudulent​ ​alibis​ ​or​ ​to

destroy​ ​or​ ​alter​ ​evidence.”​ ​Maydak​ ​v.​ ​United​ ​States​ ​Dep't​ ​of​ ​Justice​,​ ​218​ ​F.3d​ ​760,​ ​762​ ​(D.C.

Cir.​ ​2000).

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          For​ ​the​ ​government​ ​to​ ​successfully​ ​invoke​ ​Exemption​ ​7(A),​ ​it​ ​must​ ​demonstrate​ ​the

applicability​ ​of​ ​two​ ​elements.​ ​First,​ ​it​ ​must​ ​show​ ​that​ ​the​ ​identified​ ​law​ ​enforcement​ ​proceeding

is​ ​pending​ ​or​ ​prospective.​ ​Second,​ ​it​ ​must​ ​demonstrate​ ​that​ ​the​ ​release​ ​of​ ​the​ ​information​ ​would

reasonably​ ​be​ ​expected​ ​to​ ​cause​ ​some​ ​articulable​ ​harm.​ ​NLRB​ ​v.​ ​Robbins​ ​Tire​ ​&​ ​Rubber​ ​Co.,

437​ ​U.S.​ ​214,​ ​224​ ​(1978).

          Only​ ​a​ ​sufficient​ ​showing​ ​of​ ​genuine​ ​harm​ ​is​ ​enough​ ​to​ ​justify​ ​the​ ​withholding​ ​of​ ​records

under​ ​Exemption​ ​7(A).​ ​The​ ​types​ ​of​ ​harm​ ​that​ ​may​ ​sufficiently​ ​justify​ ​Exemption​ ​7(A)​ ​include

witness​ ​intimidation,​ ​revelation​ ​of​ ​the​ ​scope​ ​and​ ​target​ ​of​ ​the​ ​investigation,​ ​destruction​ ​of

evidence,​ ​and​ ​construction​ ​of​ ​alibis.​ ​See​ ​North​ ​v.​ ​Walsh​,​ ​881​ ​F.2d,​ ​1098​ ​U.S.​ ​App.​ ​D.C.​ ​373

(D.C.​ ​Cir.​ ​1989).

          When​ ​the​ ​subject​ ​of​ ​an​ ​investigation​ ​already​ ​has​ ​access​ ​to​ ​the​ ​requested​ ​records,​ ​agencies

may​ ​not​ ​rely​ ​on​ ​categorical​ ​assertions​ ​of​ ​harm​ ​as​ ​Defendant​ ​has​ ​done​ ​here.​ ​Instead,​ ​to​ ​prevail,

the​ ​agency​ ​must​ ​demonstrate​ ​specifically​ ​how​ ​disclosure​ ​of​ ​the​ ​information​ ​at​ ​issue​ ​would

interfere​ ​with​ ​an​ ​investigation.​ ​Campbell​ ​v.​ ​Department​ ​of​ ​Health​ ​&​ ​Human​ ​Servs.​,​ ​221​ ​U.S.

App.​ ​D.C.​ ​1,​ ​682​ ​F.2d​ ​256,​ ​265​ ​(D.C.​ ​Cir.​ ​1982).

          Importantly,​ ​records​ ​whose​ ​release​ ​would​ ​only​ ​harm​ ​a​ ​portion​ ​of​ ​a​ ​law​ ​enforcement

proceeding​ ​must​ ​be​ ​released​ ​if​ ​the​ ​relevant​ ​portion​ ​of​ ​the​ ​proceeding​ ​has​ ​ended.​ ​North​ ​v.​ ​Walsh​,

881​ ​F.2d​ ​1088,​ ​1100,​ ​279​ ​U.S.​ ​App.​ ​D.C.​ ​373​ ​(D.C.​ ​Cir.​ ​1989)​ ​(“Disclosure​ ​of​ ​the​ ​information

…​ ​cannot​ ​interfere​ ​with​ ​parts​ ​of​ ​the​ ​enforcement​ ​proceeding​ ​already​ ​concluded.”).

          When​ ​invoking​ ​Exemption​ ​7(A),​ ​an​ ​agency​ ​can​ ​satisfy​ ​its​ ​burden​ ​of​ ​proof​ ​“by​ ​grouping

documents​ ​in​ ​categories​ ​and​ ​offering​ ​generic​​ ​reasons​ ​for​ ​withholding​ ​the​ ​documents​ ​in​ ​each

category.”​​ ​Citizens​ ​for​ ​Responsibility​ ​&​ ​Ethics​ ​in​ ​Wash.​ ​v.​ ​U.S.​ ​Dep’t​ ​of​ ​Justice​,​ ​746​ ​F.3d​ ​1082



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(D.C.​ ​Cir.​ ​2014)​ ​(quoting​ ​Maydak​ ​v.​ ​U.S.​ ​Dep’t​ ​of​ ​Justice​,​ ​218​ ​F.3d​ ​760,​ ​762​ ​(D.C.​ ​Cir.​ ​2000)).

However,​ ​when​ ​using​ ​the​ ​so-called​ ​“generic”​ ​approach,​ ​the​ ​agency​ ​must​ ​meet​ ​three​ ​conditions:

          First,​ ​it​ ​must​ ​define​ ​its​ ​categories​ ​functionally.​ ​Second,​ ​it​ ​must​ ​conduct​ ​a
          document-by-document​ ​review​ ​in​ ​order​ ​to​ ​assign​ ​documents​ ​to​ ​the​ ​proper
          category.​ ​Finally,​ ​it​ ​must​ ​explain​ ​to​ ​the​ ​court​ ​how​ ​the​ ​release​ ​of​ ​each​ ​category
          would​ ​interfere​ ​with​ ​enforcement​ ​proceedings.

Bevis​ ​v.​ ​Dep't​ ​of​ ​State​,​ ​801​ ​F.2d​ ​1386,​ ​1389-90,​ ​255​ ​U.S.App.​ ​D.C.​ ​347​ ​(D.C.​ ​Cir.​ ​1986).

                    1.         Defendant​ ​has​ ​failed​ ​to​ ​make​ ​the​ ​requisite​ ​demonstration​ ​of​ ​harm.

          Defendant​ ​has​ ​failed​ ​meet​ ​any​ ​of​ ​the​ ​requirements​ ​mandated​ ​by​ ​the​ ​court​ ​in​ ​Beavis​.​ ​It

failed​ ​to​ ​review​ ​the​ ​records​ ​at​ ​all,​ ​choosing​ ​instead​ ​to​ ​allow​ ​them​ ​to​ ​remain​ ​on​ ​the​ ​District’s​ ​file

servers.​ ​It​ ​chose​ ​not​ ​to​ ​categorize​ ​the​ ​information.​ ​It​ ​did​ ​not​ ​conduct​ ​a​ ​document-by-document

review.​ ​It​ ​provided​ ​absolutely​ ​no​ ​explanation​ ​about​ ​how​ ​the​ ​release​ ​of​ ​the​ ​documents​ ​would

interfere​ ​with​ ​enforcement​ ​proceedings.

          Since​ ​Defendant​ ​failed​ ​to​ ​conduct​ ​any​ ​meaningful​ ​review​ ​of​ ​the​ ​records​ ​from​ ​OAG​ ​and

provide​ ​the​ ​Court​ ​with​ ​any​ ​meaningful​ ​description​ ​of​ ​their​ ​contents,​ ​it​ ​simply​ ​cannot​ ​meets​ ​its

burden​ ​of​ ​proving​ ​release​ ​of​ ​the​ ​records​ ​would​ ​interfere​ ​or​ ​harm​ ​any​ ​of​ ​the​ ​ongoing,​ ​post-trial

proceedings​ ​in​ ​Pennsylvania.​ ​Defendant’s​ ​conclusory​ ​statement​ ​that​ ​“[r]elease​ ​of​ ​information

withheld​ ​could​ ​reasonably​ ​be​ ​expected​ ​to​ ​interfere​ ​with​ ​those​ ​investigations,​ ​prosecutions,​ ​and

post-conviction​ ​hearings,”​ ​Def.​ ​Brief,​ ​p.​ ​14,​ ​is​ ​precisely​ ​the​ ​type​ ​of​ ​inadequate​ ​evidentiary

support​ ​that​ ​must​ ​be​ ​rejected​ ​by​ ​the​ ​Court.

          Defendant​ ​further​ ​contends​ ​it​ ​“has​ ​described​ ​the​ ​category​ ​of​ ​records​ ​to​ ​allow​ ​the​ ​Court​ ​to

assess​ ​functionally​ ​whether​ ​their​ ​release​ ​would​ ​risk​ ​interference​ ​with​ ​criminal​ ​investigations

and/or​ ​post-convictions​ ​and/or​ ​new​ ​trials.”​ ​Def.​ ​Brief,​ ​p.​ ​14.​ ​This​ ​is​ ​fundamentally​ ​false.



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Defendant’s​ ​declarations​ ​and​ ​Vaughn​ ​index​ ​are​ ​devoid​ ​of​ ​any​ ​description​ ​of​ ​the​ ​withheld

records,​ ​let​ ​alone​ ​one​ ​that​ ​would​ ​allow​ ​the​ ​Court​ ​to​ ​assess​ ​the​ ​potential​ ​for​ ​any​ ​interference​ ​if

released.

          In​ ​sum,​ ​Defendant​ ​has​ ​failed​ ​to​ ​offer​ ​any​ ​evidence​ ​whatsoever​ ​that​ ​the​ ​records​ ​from​ ​the

OAG​ ​would​ ​harm​ ​either​ ​of​ ​the​ ​pending​ ​post-trial​ ​proceedings.​ ​The​ ​Court​ ​should​ ​grant​ ​summary

judgment​ ​in​ ​Plaintiff’s​ ​favor

          D.        Records​ ​withheld​ ​in​ ​their​ ​entirety.

          Defendant​ ​has​ ​withheld​ ​a​ ​number​ ​of​ ​documents​ ​in​ ​their​ ​entirety.​ ​It​ ​cites​ ​three​ ​exemptions

for​ ​withholding​ ​these​ ​records​ ​-​ ​Exemption​ ​5,​ ​6​ ​and​ ​7(C).

          The​ ​FOIA’s​ ​Exemption​ ​5​ ​protects​ ​“inter-agency​ ​or​ ​intra-agency​ ​memorandums​ ​or​ ​letters

which​ ​would​ ​not​ ​be​ ​available​ ​by​ ​law​ ​to​ ​a​ ​party​ ​other​ ​than​ ​an​ ​agency​ ​in​ ​litigation​ ​with​ ​the

agency.”​ ​5​ ​U.S.C.​ ​§​ ​552(b)(5).​ ​The​ ​exemption​ ​covers​ ​“those​ ​documents,​ ​and​ ​only​ ​those

documents​ ​[that​ ​are]​ ​normally​ ​privileged​ ​in​ ​the​ ​civil​ ​discovery​ ​context.”​ ​NLRB​ ​v.​ ​Sears,​ ​Roebuck

&​ ​Co.​,​ ​421​ ​U.S.​ ​132,​ ​149,​ ​95​ ​S.Ct.​ ​1504,​ ​44​ ​L.Ed.2d​ ​29​ ​(1975).​ ​Specifically,​ ​Defendant​ ​has

invoked​ ​the​ ​attorney-work​ ​product​ ​privilege​ ​and​ ​the​ ​deliberative​ ​process​ ​privilege,​ ​which​ ​are

among​ ​the​ ​privileges​ ​that​ ​may​ ​be​ ​used​ ​to​ ​withhold​ ​records​ ​pursuant​ ​to​ ​Exemption​ ​5.

                    1.         Defendant​ ​has​ ​failed​ ​to​ ​prove​ ​the​ ​applicability​ ​of​ ​the​ ​attorney-work
                               product​ ​privilege.

          The​ ​attorney​ ​work-product​ ​privilege​ ​protects​ ​“documents​ ​and​ ​tangible​ ​things​ ​that​ ​are

prepared​ ​in​ ​anticipation​ ​of​ ​litigation.”​ ​Fed.​ ​R.​ ​Civ.​ ​P.​ ​26(b)(3)(A).​ ​To​ ​successfully​ ​invoke​ ​the

work-product​ ​privilege,​ ​Defendant​ ​must​ ​demonstrate​ ​that​ ​the​ ​document​ ​was​ ​prepared​ ​in

anticipation​ ​of​ ​litigation​.​ ​To​ ​do​ ​this,​ ​it​ ​must​ ​satisfy​ ​this​ ​Circuit’s​ ​so-called​ ​“because​ ​of”​ ​test,

which​ ​holds​ ​that​ ​“whether,​ ​in​ ​light​ ​of​ ​the​ ​nature​ ​of​ ​the​ ​document​ ​and​ ​the​ ​factual​ ​situation​ ​in​ ​the

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particular​ ​case,​ ​the​ ​document​ ​can​ ​fairly​ ​be​ ​said​ ​to​ ​have​ ​been​ ​prepared​ ​or​ ​obtained​ ​because​ ​of​ ​the

prospect​ ​of​ ​litigation.”​ ​United​ ​States​ ​v.​ ​Deloitte​ ​LLP​,​ ​610​ ​F.3d​ ​129,​ ​137,​ ​391​ ​U.S.App.D.C.​ ​318

(D.C.​ ​Cir.​ ​2010).​ ​For​ ​that​ ​test​ ​to​ ​be​ ​met,​ ​“the​ ​attorney​ ​who​ ​created​ ​the​ ​document​ ​must​ ​have​ ​‘had

a​ ​subjective​ ​belief​ ​that​ ​litigation​ ​was​ ​a​ ​real​ ​possibility,’​ ​and​ ​that​ ​subjective​ ​belief​ ​must​ ​have​ ​been

‘objectively​ ​reasonable.’”​ ​National​ ​Association​ ​of​ ​Criminal​ ​Defense​ ​Lawyers​ ​v.​ ​United​ ​States

Department​ ​of​ ​Justice​,​ ​No.​ ​15-5051​ ​(D.C.​ ​Cir.​ ​July​ ​19,​ ​2017).

          When​ ​an​ ​agency​ ​invokes​ ​the​ ​work-product​ ​privilege​ ​on​ ​behalf​ ​of​ ​government​ ​attorneys

working​ ​in​ ​a​ ​law​ ​enforcement​ ​context,​ ​as​ ​Defendant​ ​has​ ​in​ ​this​ ​matter,​ ​the​ ​agency​ ​must​ ​meet​ ​a

higher​ ​evidentiary​ ​standard​ ​than​ ​if​ ​the​ ​attorney​ ​was​ ​acting​ ​merely​ ​as​ ​a​ ​legal​ ​advisor.​ ​To​ ​satisfy

the​ ​requirement​ ​that​ ​the​ ​documents​ ​were​ ​prepared​ ​in​ ​anticipation​ ​of​ ​litigation,​ ​it​ ​must​ ​identify​ ​a

“specific​ ​claim”​ ​in​ ​an​ ​enforcement​ ​action​ ​that​ ​caused​ ​the​ ​document’s​ ​creation.​ ​For​ ​the

enforcement​ ​action​ ​to​ ​be​ ​“sufficiently​ ​on​ ​the​ ​horizon​ ​to​ ​implicate​ ​the​​ ​work-product​ ​privilege,​ ​the

agency’s​ ​investigation​ ​must​ ​have​ ​advanced​ ​to​ ​the​ ​point​ ​that​ ​the​ ​documents’​ ​authors

contemplated​ ​bringing​ ​‘a​ ​specific​ ​claim​ ​supported​ ​by​ ​concrete​ ​facts.’”​ ​Id​.​ ​“At​ ​an​ ​early​ ​stage​ ​…

there​ ​is​ ​insufficient​ ​reason​ ​to​ ​anticipate​ ​litigation.​ ​But​ ​for​ ​documents​ ​created​ ​at​ ​a​ ​later​ ​stage​ ​in

which​ ​the​ ​agency​ ​contemplates​ ​bringing​ ​a​ ​specific​ ​action,​ ​disclosure​ ​might​ ​reveal”​ ​information

that​ ​is​ ​protected​ ​by​ ​the​ ​work-product​ ​privilege.​ ​Id​.​ ​It​ ​is​ ​not​ ​enough​ ​for​ ​Defendant​ ​to​ ​simply

identify​ ​an​ ​active​ ​investigation​ ​in​ ​which​ ​the​ ​attorneys​ ​were​ ​involved.​ ​Defendant​ ​must​ ​also​ ​prove

an​ ​enforcement​ ​action​ ​was​ ​“foreseeably​ ​at​ ​hand”​ ​at​ ​the​ ​time​ ​the​ ​documents​ ​were​ ​prepared.​ ​Id.

          When​ ​a​ ​specific​ ​claim​ ​is​ ​required​ ​to​ ​invoke​ ​the​ ​privilege,​ ​as​ ​it​ ​is​ ​in​ ​the​ ​case,​ ​the

government​ ​must​ ​demonstrate​ ​that​ ​t​he​ ​investigation​ ​focused​ ​“​upon​ ​specific​ ​events​ ​and​ ​a​ ​specific




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possible​ ​violation​ ​by​ ​a​ ​specific​ ​party,”​ ​at​ ​the​ ​time​ ​the​ ​documents​ ​were​ ​created.​ ​In​ ​re​ ​Sealed

Case,​ ​146​ ​F.3d​ ​881,​ ​885​ ​(D.C.​ ​Cir.​ ​1998).

          The​ ​reason​ ​for​ ​this​ ​higher​ ​standard​ ​is​ ​to​ ​ensure​ ​that​ ​a​ ​law-enforcement​ ​agency​ ​brimming

with​ ​attorneys,​ ​such​ ​the​ ​office​ ​of​ ​a​ ​United​ ​States​ ​attorney,​ ​cannot​ ​shield​ ​all​ ​of​ ​its​ ​activities​ ​from

public​ ​scrutiny​ ​forever.​ ​“While​ ​it​ ​may​ ​be​ ​true​ ​that​ ​the​ ​prospect​ ​of​ ​future​ ​litigation​ ​touches

virtually​ ​any​ ​object​ ​of​ ​a​ ​[law-enforcement​ ​agency]​ ​attorney’s​ ​attention,​ ​if​ ​the​ ​agency​ ​were

allowed​ ​‘to​ ​withhold​ ​any​ ​document​ ​prepared​ ​by​ ​any​ ​person​ ​in​ ​the​ ​Government​ ​with​ ​a​ ​law​ ​degree

simply​ ​because​ ​litigation​ ​might​ ​someday​ ​occur,​ ​the​ ​policies​ ​of​ ​the​ ​FOIA​ ​would​ ​be​ ​largely

defeated.’”​ ​Senate​ ​of​ ​the​ ​Com.​ ​of​ ​Puerto​ ​Rico​,​ ​823​ ​F.2d​ ​at​ ​586-87​ ​(quoting​ ​Coastal​ ​States​,​ ​617

F.2d​ ​at​ ​865).

          To​ ​successfully​ ​prove​ ​the​ ​application​ ​of​ ​the​ ​work-product​ ​privilege,​ ​courts​ ​in​ ​this​ ​district

have​ ​required​ ​the​ ​government​ ​to​ ​demonstrate​ ​an​ ​actual​ ​nexus​ ​between​ ​the​ ​content​ ​and​ ​nature​ ​of

the​ ​withheld​ ​documents​ ​and​ ​the​ ​role​ ​that​ ​only​ ​an​ ​attorney​ ​would​ ​play​ ​in​ ​their​ ​creation.​ ​For

example,​ ​documents​ ​described​ ​as​ ​“third​ ​party​ ​information​ ​as​ ​well​ ​as​ ​thoughts​ ​and​ ​opinions​ ​of

attorneys​ ​regarding​ ​the​ ​case”​ ​is​ ​not​ ​sufficient​ ​for​ ​the​ ​government​ ​to​ ​prove​ ​the​ ​work-product

privilege​ ​applies.​ ​Boyd​ ​v.​ ​Exec.​ ​Office​ ​For​ ​United​ ​States​ ​Attorneys​,​ ​87​ ​F.Supp.3d​ ​58​ ​(D.D.C.

2015).​ ​Similarly,​ ​a​ ​six-page​ ​record​ ​containing​ ​a​ ​“[s]eries​ ​of​ ​communication​ ​letters​ ​between

attorneys​ ​handling​ ​the​ ​case”​ ​regarding​ ​“various​ ​third​ ​parties,​ ​items​ ​relating​ ​to​ ​the​ ​Grand​ ​Jury,

and​ ​case​ ​strategy”​ ​was​ ​also​ ​found​ ​to​ ​be​ ​inadequate.​ ​Id​.​ ​Conversely,​ ​documents​ ​described​ ​as

“information​ ​related​ ​to​ ​trial​ ​preparation,​ ​trial​ ​strategy,​ ​interpretations,​ ​and​ ​personal​ ​evaluations

and​ ​opinions​ ​pertinent​ ​to​ ​[the]​ ​plaintiff's​ ​criminal​ ​case”​ ​as​ ​well​ ​as​ ​“deliberations​ ​concerning

asset​ ​forfeiture​ ​decisions​ ​[and]​ ​possible​ ​strategies​ ​as​ ​they​ ​relate​ ​to​ ​the​ ​case”​ ​have​ ​been​ ​found​ ​to



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be​ ​exempt.​ ​Petrucelli​ ​v.​ ​Department​ ​of​ ​Justice​,​ ​51​ ​F.Supp.3d​ ​142​ ​(D.D.C.​ ​2014);​ ​“[a]​ ​letter

prepared​ ​by​ ​an​ ​AUSA​ ​...​ ​to​ ​his​ ​client​ ​[discussing]​ ​litigation​ ​filed​ ​by​ ​[the​ ​plaintiff]​ ​against​ ​the

client​ ​and​ ​litigation​ ​that​ ​the​ ​AUSA​ ​was​ ​contemplating​ ​filing​ ​against​ ​[the​ ​plaintiff]​ ​to​ ​enjoin​ ​him

from​ ​harassing​ ​the​ ​client​ ​in​ ​the​ ​future.”​ ​Concepcion​ ​v.​ ​Federal​ ​Bureau​ ​of​ ​Investigation​,​ ​606

F.Supp.2d​ ​14​ ​(D.D.C.​ ​2009),​ ​and;​ ​records​ ​that​ ​“reflect​ ​such​ ​matters​ ​as​ ​trial​ ​preparation,​ ​trial

strategy,​ ​legal​ ​interpretations,​ ​and​ ​personal​ ​evaluations​ ​and​ ​opinions​ ​by​ ​Assistant​ ​United​ ​States

Attorneys​ ​and​ ​the​ ​United​ ​States​ ​Attorney​ ​pertinent​ ​to​ ​grand​ ​jury​ ​investigation​ ​and​ ​subpoenas

relating​ ​to​ ​a​ ​third​ ​party​ ​criminal​ ​case.”​ ​Toensing​ ​v.​ ​United​ ​States​ ​Department​ ​of​ ​Justice​,​ ​No.

11-1215​ ​(D.D.C​ ​November​ ​14,​ ​2013).

          In​ ​almost​ ​all​ ​instances,​ ​Defendant​ ​has​ ​failed​ ​to​ ​meet​ ​the​ ​“specific​ ​claim”​ ​test​ ​as​ ​described

above.​ ​The​ ​Second​ ​Stone​ ​Declaration​ ​states​ ​that​ ​“USAO-MDPA​ ​was​ ​investigating​ ​claims​ ​of

sexual​ ​child​ ​abuses[sic]​ ​campus,​ ​among​ ​other​ ​possible​ ​violations​ ​of​ ​the​ ​law​ ​that​ ​may​ ​have

occurred​ ​on​ ​Penn​ ​State​ ​University’s​ ​campus.​ ​If​ ​it​ ​was​ ​determined​ ​that​ ​laws​ ​were​ ​violated,

USAO-MDPA​ ​could​ ​have​ ​filed​ ​civil​ ​or​ ​criminal​ ​charged​ ​[sic]​ ​against​ ​individuals.”​ ​Second​ ​Stone

Decl.​ ​¶​ ​51.​ ​Here,​ ​Defendant’s​ ​declarations​ ​fall​ ​short​ ​because​ ​they​ ​only​ ​state​ ​that​ ​child​ ​sexual

abuse​ ​was​ ​being​ ​investigated​ ​generally,​ ​along​ ​with​ ​other​ ​unnamed​ ​“possible​ ​violations.”​ ​The

declarations​ ​fail​ ​to​ ​identify​ ​“specific​ ​events​ ​and​ ​a​ ​specific​ ​possible​ ​violation​ ​by​ ​a​ ​specific​ ​party”

that​ ​are​ ​tied​ ​to​ ​the​ ​creation​ ​of​ ​each​ ​withheld​ ​document​ ​for​ ​which​ ​the​ ​work-product​ ​privilege​ ​is

being​ ​invoked.​ ​Without​ ​such​ ​demonstration,​ ​the​ ​Court​ ​must​ ​grant​ ​summary​ ​judgment​ ​in

Plaintiff’s​ ​favor.

          Additionally,​ ​the​ ​descriptions​ ​of​ ​the​ ​documents​ ​in​ ​Defendant’s​ ​Vaughn​ ​index​ ​closely

follow​ ​those​ ​that​ ​the​ ​D.C.​ ​Circuit​ ​has​ ​previously​ ​found​ ​to​ ​be​ ​inadequate.​ ​In​ ​Coastal​ ​States​ ​Gas



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Corp.​ ​vs.​ ​Department​ ​of​ ​Energy​,​ ​617​ ​F.2d​ ​854​ ​(D.C.​ ​Cir.​ ​1980),​ ​the​ ​agency​ ​described​ ​one​ ​of​ ​the

withheld​ ​documents​ ​as​ ​containing​ ​a​ ​“detailed​ ​discussion​ ​of​ ​facts​ ​and​ ​applicability​ ​of​ ​§

212.111(a)​ ​(2)​ ​to​ ​a​ ​specific​ ​case.”​ ​Id​ ​at​ ​866.​ ​It​ ​rejected​ ​that​ ​description​ ​as​ ​inadequate,​ ​writing

“the​ ​agency​ ​must​ ​establish​ ​in​ ​its​ ​affidavits​ ​or​ ​indexes​ ​the​ ​fact​ ​that​ ​a​ ​specific​ ​claim​ ​had​ ​arisen,

was​ ​disputed​ ​by​ ​the​ ​company,​ ​and​ ​was​ ​being​ ​discussed​ ​in​ ​the​ ​memorandum.”​ ​Here,​ ​the

descriptions​ ​contained​ ​in​ ​the​ ​government’s​ ​Vaughn​ ​index​ ​look​ ​too​ ​similar​ ​to​ ​those​ ​in​ ​Coastal

States​ ​to​ ​be​ ​considered​ ​adequate.​ ​For​ ​example,​ ​Item​ ​1​ ​is​ ​described​ ​as​ ​an​ ​“internal​ ​email​ ​…

discussing​ ​draft​ ​memoranda​ ​that​ ​was​ ​prepared​ ​by​ ​the​ ​legal​ ​team.​ ​Vaughn​ ​index,​ ​p.​ ​1.​ ​The

memoranda​ ​contain​ ​the​ ​government​ ​attorney’s​ ​legal​ ​theories​ ​and​ ​analysis​ ​of​ ​potential​ ​avenues​ ​to

pursue.”​ ​Item​ ​EMAIL_0003333​ ​is​ ​described​ ​as​ ​“email​ ​discussions​ ​…​ ​regarding​ ​information

garnered​ ​through​ ​witnesses’​ ​interviews.”​ ​Vaughn​ ​index,​ ​p.​ ​4.​ ​Item​ ​EMAIL_0008607​ ​is​ ​described

as​ ​“email​ ​discussions​ ​among​ ​government​ ​attorneys​ ​concerning​ ​draft​ ​responses​ ​to​ ​media​ ​inquiry

about​ ​the​ ​PSU/Sandusky​ ​investigation.”​ ​Vaughn​ ​index,​ ​p.​ ​6.​ ​None​ ​of​ ​the​ ​descriptions​ ​assert​ ​the

discussions​ ​focused​ ​on​ ​a​ ​specific​ ​claim​ ​that​ ​was​ ​being​ ​investigated​ ​or​ ​that​ ​was​ ​likely​ ​to​ ​result​ ​in

litigation.​ ​As​ ​a​ ​result,​ ​Defendant’s​ ​claims​ ​of​ ​exemption​ ​are​ ​inadequate.

                     2.        The​ ​deliberative​ ​process​ ​privilege

          Exemption​ ​5​ ​also​ ​encompases​ ​the​ ​deliberative​ ​process​ ​privilege,​ ​which​ ​allows​ ​Defendant

to​ ​ ​“withhold​ ​‘all​ ​papers​ ​which​ ​reflect​ ​the​ ​agency's​ ​group​ ​thinking​ ​in​ ​the​ ​process​ ​of​ ​working​ ​out

its​ ​policy​ ​and​ ​determining​ ​what​ ​its​ ​law​ ​shall​ ​be.’”​ ​Elec.​ ​Frontier​ ​Found.​ ​v.​ ​U.S.​ ​Dep't​ ​of​ ​Justice​,

739​ ​F.3d​ ​1,​ ​4​ ​(D.C.​ ​Cir.​ ​2014)​ ​(quoting​ ​Sears,​ ​Roebuck​,​ ​421​ ​U.S.​ ​at​ ​153).​ ​It​ ​is​ ​“limited​ ​to

documents​ ​that​ ​are​ ​‘predecisional’​ ​and​ ​‘deliberative,’​ ​meaning​ ​‘they​ ​reflect​ ​advisory​ ​opinions,

recommendations,​ ​and​ ​deliberations​ ​comprising​ ​part​ ​of​ ​a​ ​process​ ​by​ ​which​ ​governmental



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decisions​ ​and​ ​policies​ ​are​ ​formulated,​ ​[or]​ ​the​ ​personal​ ​opinions​ ​of​ ​the​ ​writer​ ​prior​ ​to​ ​the

agency’s​ ​adoption​ ​of​ ​a​ ​policy.’”​ ​Id​ ​(quoting​ ​Pub.​ ​Citizen,​ ​Inc.​ ​v.​ ​Office​ ​of​ ​Mgmt.​ ​&​ ​Budget​,​ ​598

F.3d​ ​865,​ ​875,​ ​389​ ​U.S.App.D.C.​ ​356​ ​(D.C.​ ​Cir.​ ​2010)).

          To​ ​meet​ ​its​ ​burden​ ​of​ ​proving​ ​the​ ​predecisional​ ​and​ ​deliberative​ ​nature​ ​of​ ​the​ ​withheld

documents,​ ​the​ ​government​ ​must​ ​“establish​ ​what​ ​deliberative​ ​process​ ​is​ ​involved,​ ​and​ ​the​ ​role

played​ ​by​ ​the​ ​documents​ ​at​ ​issue​ ​in​ ​the​ ​course​ ​of​ ​that​ ​process.”​ ​Senate​ ​of​ ​P.R.​ ​v.​ ​U.S.​ ​Dep't​ ​of

Justice​,​ ​823​ ​F.2d​ ​574,​ ​585-86​ ​(D.C.​ ​Cir.​ ​1987)​ ​(quoting​ ​Coastal​ ​States​,​ ​617​ ​F.2d​ ​at​ ​868).​ ​It​ ​must

further​ ​“describe​ ​the​ ​nature​ ​of​ ​the​ ​decision​ ​making​ ​authority​ ​vested​ ​in​ ​the​ ​office​ ​or​ ​person

issuing​ ​the​ ​disputed​ ​document[s],​ ​and​ ​the​ ​positions​ ​in​ ​the​ ​chain​ ​of​ ​command​ ​of​ ​the​ ​parties​ ​to​ ​the

documents.”​ ​Elec.​ ​Frontier​ ​Found.​ ​v.​ ​U.S.​ ​Dep’t​ ​of​ ​Justice​,​ ​826​ ​F.Supp.2d​ ​157,​ ​168​ ​(D.D.C.

2011)​ ​(quoting​ ​Arthur​ ​Andersen​ ​&​ ​Co.​ ​v.​ ​IRS​,​ ​679​ ​F.2d​ ​254,​ ​258​ ​(D.C.​ ​Cir.​ ​1982)).​ ​Documents

sent​ ​from​ ​subordinates​ ​to​ ​superiors​ ​are​ ​more​ ​likely​ ​to​ ​be​ ​deliberative​ ​in​ ​character​ ​than

documents​ ​traveling​ ​in​ ​the​ ​opposite​ ​direction.​ ​Senate​ ​of​ ​P.R.,​ ​supra​.

          “The​ ​need​ ​to​ ​describe​ ​each​ ​withheld​ ​document​ ​when​ ​Exemption​ ​5​ ​is​ ​at​ ​issue​ ​is

particularly​ ​acute​ ​because​ ​the​ ​deliberative​ ​process​ ​privilege​ ​is​ ​so​ ​dependent​ ​upon​ ​the​ ​individual

document​ ​and​ ​the​ ​role​ ​it​ ​plays​ ​in​ ​the​ ​administrative​ ​process.”​ ​Animal​ ​Legal​ ​Def.​ ​Fund,​ ​Inc.​ ​v.

Dep't​ ​of​ ​Air​ ​Force​,​ ​44​ ​F.Supp.2d​ ​295,​ ​299​ ​(D.D.C.​ ​1999)​ ​(quoting​ ​Coastal​ ​States​ ​Gas​ ​Corp.​ ​v.

Dep't​ ​of​ ​Energy​,​ ​617​ ​F.2d​ ​854,​ ​867​ ​(D.C.​ ​Cir.​ ​1980)).

          Finally,​ ​once​ ​a​ ​document​ ​is​ ​“is​ ​adopted,​ ​formally​ ​or​ ​informally,​ ​as​ ​the​ ​agency​ ​position​ ​on

an​ ​issue​ ​or​ ​is​ ​used​ ​by​ ​the​ ​agency​ ​in​ ​its​ ​dealings​ ​with​ ​the​ ​public,”​ ​it​ ​can​ ​no​ ​longer​ ​be​ ​considered

predecisional.​ ​Coastal​ ​States​,​ ​617​ ​F.2d​ ​at​ ​866.




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          Further,​ ​the​ ​deliberative​ ​process​ ​privilege​ ​“does​ ​not​ ​protect​ ​documents​ ​in​ ​their​ ​entirety;​ ​if

the​ ​government​ ​can​ ​segregate​ ​and​ ​disclose​ ​non-privileged​ ​factual​ ​information​ ​within​ ​a

document,​ ​it​ ​must.”​ ​Loving​,​ ​550​ ​F.3d​ ​at​ ​38​ ​(citing​ ​Army​ ​Times​ ​Publ'g​ ​Co.​ ​v.​ ​U.S.​ ​Dep't​ ​of​ ​Air

Force,​ ​998​ ​F.2d​ ​1067,​ ​1071​ ​(D.C.​ ​Cir.​ ​1993)).

          Here,​ ​Defendant​ ​has​ ​failed​ ​to​ ​demonstrate​ ​that​ ​the​ ​documents​ ​reflect​ ​opinions​ ​made​ ​as

part​ ​of​ ​a​ ​process​ ​in​ ​which​ ​an​ ​agency​ ​decision​ ​was​ ​being​ ​made.​ ​Again​ ​and​ ​again,​ ​its​ ​Vaughn

index​ ​simply​ ​parrots​ ​the​ ​relevant​ ​legal​ ​standards.​ ​For​ ​example,​ ​Defendant​ ​states​ ​it​ ​withheld

EMAIL_0003268​ ​to​ ​protect​ ​the​ ​“pre-decisional​ ​and​ ​deliberative,​ ​decision-making​ ​processes​ ​of

the​ ​government​ ​attorneys.”​ ​EMAIL_0003269​ ​was​ ​withheld​ ​to​ ​“protect​ ​the​ ​pre-decisional​ ​and

deliberative​ ​processes​ ​of​ ​the​ ​government​ ​attorneys.”​ ​Similar​ ​language​ ​is​ ​found​ ​throughout​ ​the

government’s​ ​Vaughn​ ​index.​ ​Such​ ​descriptions​ ​fall​ ​short​ ​of​ ​providing​ ​the​ ​specific​ ​facts

necessary​ ​for​ ​Defendant​ ​to​ ​meet​ ​its​ ​burden​ ​of​ ​proof.

                    3.        Exemption​ ​6​ ​and​ ​Exemption​ ​7(C)

          Throughout​ ​its​ ​Vaughn​ ​index,​ ​plaintiff​ ​cites​ ​Exemption​ ​6​ ​and​ ​Exemption​ ​7(C)​ ​“to​ ​protect

the​ ​names,​ ​telephone​ ​numbers​ ​and​ ​other​ ​personally​ ​identifiable​ ​information​ ​of​ ​government

attorneys.”​ ​However,​ ​instead​ ​of​ ​simply​ ​redacting​ ​the​ ​information​ ​that​ ​Defendant​ ​asserts​ ​is

protected,​ ​it​ ​has​ ​decided​ ​to​ ​withhold​ ​documents​ ​in​ ​their​ ​entirety.​ ​Plaintiff​ ​cannot​ ​withhold

documents​ ​in​ ​full​ ​to​ ​protect​ ​names,​ ​telephone​ ​numbers​ ​and​ ​other​ ​information​ ​that​ ​is​ ​personally

identifiable.​ ​The​ ​Court​ ​should​ ​order​ ​Defendant​ ​to​ ​release​ ​all​ ​non-protected​ ​information.

                    4.        Specific​ ​withheld​ ​documents




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          Although​ ​Plaintiff​ ​has​ ​contested​ ​the​ ​sufficiency​ ​of​ ​Defendant’s​ ​declarations​ ​and​ ​Vaughn

index​ ​overall,​ ​the​ ​following​ ​items​ ​should​ ​not​ ​be​ ​withheld​ ​for​ ​the​ ​corresponding​ ​reasons​ ​(the

referenced​ ​item​ ​numbers​ ​correspond​ ​to​ ​Plaintiff’s​ ​annotated​ ​Vaughn​ ​index​ ​(Exhibit​ ​M).

                              a.         Item​ ​1.

          Item​ ​1​ ​is​ ​described​ ​as​ ​an​ ​“[i]nternal​ ​email​ ​distributed​ ​among​ ​AUSA’s​ ​assigned​ ​to​ ​the

Penn​ ​State​ ​University/Sandusky​ ​investigation​ ​discussing​ ​draft​ ​memoranda​ ​that​ ​was​ ​prepared​ ​by

the​ ​legal​ ​team.​ ​The​ ​memoranda​ ​contain​ ​the​ ​government​ ​attorneys’​ ​legal​ ​theories​ ​and​ ​analysis​ ​of

potential​ ​avenues​ ​to​ ​pursue​ ​during​ ​the​ ​course​ ​of​ ​the​ ​investigation.”​ ​Vaughn​ ​index,​ ​p.​ ​1.​ ​Although

Defendant​ ​claims​ ​these​ ​documents​ ​are​ ​protected​ ​by​ ​the​ ​work-product​ ​privilege,​ ​the​ ​description

makes​ ​it​ ​clear​ ​that​ ​they​ ​were​ ​actually​ ​prepared​ ​during​ ​the​ ​early​ ​stages​ ​of​ ​the​ ​agency’s

investigation.​ ​Discussions​ ​of​ ​“potential​ ​avenues​ ​to​ ​pursue​ ​during​ ​the​ ​course​ ​of​ ​an​ ​investigation”

only​ ​happen​ ​in​ ​the​ ​fact-gathering​ ​phase​ ​of​ ​an​ ​inquiry,​ ​which​ ​typically​ ​occurs​ ​before​ ​litigation​ ​is

contemplated.​ ​“[L]egal​ ​theories​ ​and​ ​analysis”​ ​without​ ​litigation​ ​being​ ​contemplated​ ​are​ ​not

protected​ ​by​ ​the​ ​work-product​ ​privilege.

          Defendant​ ​further​ ​claims​ ​Item​ ​2​ ​is​ ​protected​ ​by​ ​the​ ​deliberative​ ​process​ ​privilege.

Nowhere​ ​does​ ​it​ ​identify​ ​the​ ​process​ ​that​ ​it​ ​seeks​ ​to​ ​protect,​ ​nor​ ​does​ ​it​ ​say​ ​how​ ​the​ ​documents

would​ ​reveal​ ​anything​ ​about​ ​a​ ​process.

                              b.         Item​ ​2

          Defendant​ ​describes​ ​these​ ​items​ ​as​ ​“Draft​ ​Memorandum​ ​–​ ​Witness​ ​Interviews​ ​and

Witness​ ​List.”​ ​Vaughn​ ​index,​ ​p.​ ​2.​ ​Defendant​ ​asserts​ ​the​ ​memo​ ​“summarizes​ ​and​ ​analyzes

information​ ​obtained​ ​from​ ​witness​ ​interviews”​ ​which​ ​could​ ​have​ ​“lead​ ​to​ ​litigation​ ​if​ ​it​ ​was




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determined​ ​that​ ​laws​ ​were​ ​violated.”​ ​Defendant’s​ ​own​ ​statement​ ​makes​ ​clear​ ​that​ ​no​ ​litigation

was​ ​contemplated​ ​at​ ​the​ ​time​ ​the​ ​memo​ ​was​ ​written.

          Defendant​ ​also​ ​claims​ ​the​ ​memo​ ​is​ ​deliberative.​ ​However,​ ​it​ ​has​ ​failed​ ​to​ ​explain​ ​how

summaries​ ​of​ ​information​ ​from​ ​witness​ ​interviews​ ​are​ ​would​ ​reveal​ ​and​ ​back-and-forth​ ​process

in​ ​which​ ​a​ ​policy​ ​or​ ​decision​ ​was​ ​expected​ ​to​ ​be​ ​made.

                              c.        Item​ ​3.

          These​ ​items​ ​are​ ​described​ ​as​ ​“[e]mail​ ​discussions​ ​…​ ​regarding​ ​information​ ​garnered

through​ ​witnesses’​ ​interviews.”​ ​Defendant​ ​contends​ ​the​ ​information​ ​could​ ​have​ ​served​ ​“as​ ​the

foundation​ ​for​ ​contemplated​ ​litigation​ ​if​ ​it​ ​was​ ​determined​ ​that​ ​laws​ ​were​ ​violated”​ ​Vaughn

index,​ ​p.​ ​4.​ ​These​ ​items​ ​do​ ​not​ ​deserve​ ​work-product​ ​protection​ ​because,​ ​as​ ​Defendant​ ​indicates,

it​ ​had​ ​yet​ ​to​ ​decide​ ​whether​ ​to​ ​bring​ ​an​ ​enforcement​ ​action​ ​at​ ​the​ ​time​ ​the​ ​documents​ ​were

created.​ ​Additionally,​ ​the​ ​deliberative​ ​process​ ​privilege​ ​does​ ​not​ ​apply​ ​because​ ​Defendant​ ​has

not​ ​explained​ ​what​ ​decision​ ​or​ ​policy​ ​was​ ​expected​ ​to​ ​be​ ​reached​ ​by​ ​the​ ​alleged​ ​“discussions.”

                              d.        Item​ ​6.

          Item​ ​6​ ​consists​ ​of​ ​approximately​ ​118​ ​documents​ ​described​ ​as​ ​“[e]mail​ ​distributed​ ​to

AUSAs​ ​…​ ​discussing​ ​the​ ​legal​ ​effect​ ​that​ ​the​ ​results​ ​of​ ​Sandusky’s​ ​hearings​ ​and​ ​subsequent

conviction​ ​may​ ​have​ ​on​ ​the​ ​investigation.”​​ ​This​ ​description​​ ​demonstrates​ ​that​ ​the​ ​discussions

pertained​ ​to​ ​the​ ​investigatory​ ​stage​ ​of​ ​the​ ​government’s​ ​inquiry,​ ​not​ ​a​ ​stage​ ​during​ ​which​ ​any

sort​ ​of​ ​legal​ ​action​ ​was​ ​prospective​ ​or​ ​foreseeable.​ ​The​ ​government​ ​attorneys​ ​implicated​ ​in​ ​these

documents​ ​were​ ​acting​ ​in​ ​their​ ​capacity​ ​as​ ​investigators,​ ​not​ ​attorneys,​ ​and​ ​as​ ​a​ ​result,​ ​the

work-product​ ​privilege​ ​does​ ​not​ ​apply.




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          Furthermore,​ ​the​ ​government’s​ ​assertion​ ​of​ ​the​ ​deliberative​ ​process​ ​privilege​ ​also​ ​falls

short.​ ​There​ ​is​ ​no​ ​description​ ​of​ ​the​ ​deliberative​ ​process​ ​that​ ​it​ ​seeks​ ​to​ ​protect,​ ​nor​ ​does​ ​it​ ​say

how​ ​the​ ​documents​ ​would​ ​reveal​ ​anything​ ​about​ ​that​ ​process.

                               f.         Item​ ​11

          Item​ ​11​ ​consists​ ​of​ ​“preservation​ ​letters”,​ ​“proffer​ ​letters”​ ​and​ ​ ​a​ ​letter​ ​to​ ​the

Pennsylvania​ ​Attorney​ ​General,​ ​which​ ​Defendant​ ​states​ ​is​ ​“possibly​ ​releasable”​ ​but​ ​being

“withheld​ ​in​ ​full​ ​because​ ​it​ ​is​ ​an​ ​unsigned​ ​draft​ ​letter.”​ ​Vaughn​ ​index,​ ​p.​ ​16.​ ​Again,​ ​the

government​ ​invoked​ ​the​ ​the​ ​attorney-work​ ​product​ ​and​ ​deliberative​ ​process​ ​privileges​ ​in​ ​its

withholdings.

          Defendant​ ​has​ ​failed​ ​to​ ​meet​ ​its​ ​burden​ ​in​ ​invoking​ ​the​ ​work-product​ ​privilege​ ​because

the​ ​descriptions​ ​of​ ​the​ ​documents​ ​do​ ​not​ ​prove​ ​they​ ​were​ ​created​ ​with​ ​litigation​ ​in​ ​mind.

Preservation​ ​letters​ ​are​ ​typically​ ​directives​ ​from​ ​an​ ​investigating​ ​agency​ ​instructing​ ​third-parties

to​ ​maintain​ ​certain​ ​information​ ​that​ ​may​ ​be​ ​sought​ ​by​ ​the​ ​government​ ​at​ ​a​ ​later​ ​date.​ ​Proffer

letters​ ​are​ ​agreements​ ​between​ ​prosecutors​ ​and​ ​individuals​ ​that​ ​limit​ ​the​ ​prosecutor’s​ ​ability​ ​to

use​ ​that​ ​information​ ​against​ ​them.​ ​Neither​ ​must​ ​be​ ​created​ ​with​ ​actual​ ​litigation​ ​in​ ​mind.​ ​Instead,

these​ ​types​ ​of​ ​letters​ ​are​ ​typically​ ​created​ ​during​ ​the​ ​fact-gathering​ ​phase​ ​of​ ​an​ ​inquiry​ ​before​ ​the

prospect​ ​of​ ​litigation​ ​has​ ​sufficiently​ ​arisen.​ ​Nowhere​ ​does​ ​defendant​ ​indicate​ ​that​ ​litigation​ ​was

contemplated​ ​at​ ​the​ ​time​ ​they​ ​were​ ​created.

          Defendant​ ​has​ ​revealed​ ​even​ ​less​ ​about​ ​the​ ​letter​ ​to​ ​the​ ​Pennsylvania​ ​Attorney​ ​General.​ ​It

is​ ​simply​ ​described​ ​as​ ​a​ ​“letter,”​ ​which​ ​is​ ​insufficient​ ​to​ ​justify​ ​withholding​ ​a​ ​document​ ​based​ ​on

the​ ​work-product​ ​privilege.




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          Withholding​ ​the​ ​“letter”​ ​based​ ​on​ ​the​ ​deliberative​ ​process​ ​privilege​ ​must​ ​also​ ​fail

because​ ​Defendant​ ​has​ ​failed​ ​to​ ​identify​ ​the​ ​process​ ​that​ ​it​ ​seeks​ ​to​ ​protect,​ ​nor​ ​does​ ​it​ ​say​ ​how

the​ ​documents​ ​would​ ​reveal​ ​anything​ ​about​ ​that​ ​process.​ ​Instead,​ ​Defendant​ ​simply​ ​contends

that​ ​it​ ​is​ ​an​ ​“unsigned​ ​draft”​ ​worthy​ ​of​ ​protection.​ ​That​ ​is​ ​not​ ​enough​ ​for​ ​Defendant​ ​to​ ​meet​ ​its

burden,​ ​as​ ​“an​ ​agency​ ​cannot​ ​avoid​ ​disclosing​ ​non-deliberative​ ​or​ ​predecisional​ ​material​ ​merely

by​ ​placing​ ​it​ ​in​ ​draft​ ​form.”​ ​Van​ ​Aire​ ​Skyport​ ​Corp.,​ ​733​ ​F.Supp.​ ​at​ ​321​ ​(citing​ ​Dudman

Communications​ ​Corp.​ ​v.​ ​Dep't​ ​of​ ​the​ ​Air​ ​Force,​ ​815​ ​F.2d​ ​1565,​ ​1569​ ​(D.C.Cir.1987)).​ ​For​ ​a

draft​ ​document​ ​to​ ​deserve​ ​protection​ ​by​ ​the​ ​deliberative​ ​process​ ​privilege,​ ​the​ ​government​ ​still

must​ ​prove​ ​it​ ​is​ ​both​ ​deliberative​ ​and​ ​predecisional​ ​in​ ​nature.

          Here,​ ​Defendant​ ​simply​ ​states​ ​it​ ​seeks​ ​to​ ​protect​ ​the​ ​process​ ​of​ ​“drafting​ ​various​ ​letters​ ​to

assist​ ​in​ ​focusing​ ​the​ ​scope​ ​and​ ​direction​ ​of​ ​the​ ​investigation.”​ ​Vaughn​ ​index,​ ​p.​ ​16.​ ​But​ ​that​ ​is

not​ ​enough​ ​to​ ​establish​ ​the​ ​asserted​ ​protection.​ ​The​ ​documents’​ ​authors​ ​are​ ​not​ ​revealed,​ ​nor

does​ ​Defendant​ ​explain​ ​why​ ​release​ ​of​ ​these​ ​records​ ​would​ ​reveal​ ​the​ ​“back​ ​and​ ​forth”​ ​of​ ​any

deliberative​ ​process.

                               g.        Item​ ​12

          The​ ​work-product​ ​privilege​ ​was​ ​asserted​ ​in​ ​withholding​ ​Item​ ​12,​ ​which​ ​consists​ ​of

e-mails​ ​that​ ​were​ ​circulated​ ​among​ ​“federal​ ​government​ ​attorneys​ ​and​ ​law​ ​enforcement

personnel​ ​who​ ​were​ ​assigned​ ​to​ ​the​ ​PSU/Sandusky​ ​investigation.”​ ​Vaughn​ ​index,​ ​p.​ ​17.

Defendant​ ​states​ ​the​ ​documents​ ​contain​ ​“legal​ ​theories,​ ​opinions​ ​and​ ​strategies”​ ​related​ ​to

“contemplation​ ​of​ ​litigation,​ ​if​ ​it​ ​was​ ​determined​ ​that​ ​laws​ ​were​ ​violated.”​ ​Id​.​ ​Defendant’s

assertion​ ​is​ ​an​ ​admission​ ​that​ ​litigation​ ​would​ ​only​ ​be​ ​contemplated​ ​if​ ​laws​ ​were​ ​violated.​ ​Since




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there​ ​is​ ​no​ ​claim​ ​of​ ​any​ ​violation​ ​of​ ​any​ ​law,​ ​litigation​ ​could​ ​not​ ​have​ ​been​ ​contemplated​ ​at​ ​the

time,​ ​and​ ​the​ ​work-product​ ​privilege​ ​does​ ​not​ ​protect​ ​these​ ​documents.

          Defendant​ ​also​ ​cites​ ​the​ ​deliberative​ ​process​ ​privilege,​ ​but​ ​does​ ​not​ ​explain​ ​what​ ​process

it​ ​is​ ​trying​ ​to​ ​protect​ ​or​ ​how​ ​the​ ​documents​ ​are​ ​deliberative​ ​and​ ​predecisional​ ​in​ ​nature.

                              h.         Item​ ​17

          Item​ ​17​ ​consists​ ​of​ ​“grand​ ​jury​ ​subpoenas​ ​letters​ ​issue[d]​ ​to​ ​individuals​ ​and​ ​businesses.”

Vaughn​ ​index,​ ​p.​ ​22.​ ​Defendant​ ​cites​ ​the​ ​work-product​ ​privilege,​ ​Exemption​ ​6​ ​and​ ​Exemption

7(C)​ ​in​ ​withholding​ ​these​ ​documents.​ ​ ​The​ ​work-product​ ​privilege​ ​does​ ​not​ ​protect​ ​these

documents​ ​because​ ​by​ ​sending​ ​the​ ​documents​ ​to​ ​third​ ​parties,​ ​any​ ​privilege​ ​that​ ​may​ ​have

existed​ ​was​ ​waived.

          Defendant​ ​also​ ​cites​ ​Exemption​ ​6​ ​and​ ​7(C)​ ​in​ ​withholding​ ​names,​ ​addresses​ ​and

telephone​ ​numbers,​ ​but​ ​instead​ ​of​ ​redacting​ ​this​ ​specific​ ​information,​ ​it​ ​has​ ​decided​ ​to​ ​withhold

the​ ​documents​ ​in​ ​their​ ​entirety.​ ​The​ ​Court​ ​should​ ​require​ ​Defendant​ ​to​ ​release​ ​the​ ​information​ ​it

does​ ​not​ ​seek​ ​to​ ​protect.

          E.        Records​ ​withheld​ ​in​ ​part

          Plaintiff​ ​challenges​ ​the​ ​government’s​ ​withholding​ ​of​ ​the​ ​following​ ​documents​ ​that​ ​were

partially​ ​withheld.

                    1.        EMAIL_0034855

          Defendant​ ​cites​ ​the​ ​work-product​ ​privilege​ ​and​ ​the​ ​deliberative-process​ ​privilege​ ​in

withholding​ ​a​ ​portion​ ​of​ ​EMAIL_0034855​ ​(Exhibit​ ​H).​ ​Vaughn​ ​index,​ ​p.​ ​23-24.​ ​The​ ​document

appears​ ​to​ ​be​ ​a​ ​message​ ​from​ ​an​ ​AUSA​ ​reacting​ ​to​ ​a​ ​law​ ​enforcement​ ​conference​ ​presentation

by​ ​a​ ​Pennsylvania​ ​state​ ​prosecutor​ ​involved​ ​in​ ​Sandusky’s​ ​conviction.​ ​Defendant​ ​generically



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states​ ​the​ ​redacted​ ​portion​ ​discusses​ ​“media​ ​that​ ​reported​ ​on​ ​various​ ​aspects​ ​of​ ​the

PSU/Sandusky​ ​matter.”​ ​Id​.​ ​Releasing​ ​this​ ​portion​ ​would​ ​reveal​ ​the​ ​government’s​ ​“discussion​ ​of

legal​ ​strategies,​ ​theories​ ​and​ ​opinions​ ​related​ ​to​ ​the​ ​PSU/Sandusky​ ​investigation.”​ ​Id​.

          The​ ​document​ ​itself​ ​refutes​ ​Defendant’s​ ​description​ ​of​ ​the​ ​redaction.​ ​First,​ ​the​ ​lack​ ​of

any​ ​email​ ​chain​ ​indicates​ ​it​ ​was​ ​not​ ​part​ ​of​ ​any​ ​back-and-forth​ ​discussion​ ​that​ ​would​ ​reveal​ ​any

deliberative​ ​process.​ ​Second,​ ​Defendant​ ​has​ ​not​ ​explained​ ​how​ ​a​ ​description​ ​of​ ​a​ ​conference

presentation​ ​would​ ​have​ ​any​ ​bearing​ ​on​ ​its​ ​inquiry,​ ​unlike​ ​a​ ​timely​ ​newspaper​ ​article​ ​that

communicates​ ​a​ ​new​ ​development​ ​in​ ​a​ ​matter.

          The​ ​redacted​ ​portion​ ​is​ ​not​ ​protected​ ​by​ ​the​ ​work-product​ ​privilege​ ​since

work-product-protected​ ​documents​ ​are​ ​protected​ ​in​ ​their​ ​entirety.​ ​With​ ​regard​ ​to​ ​the​ ​deliberative

process​ ​privilege,​ ​defendant​ ​has​ ​failed​ ​to​ ​state​ ​the​ ​deliberative​ ​process​ ​and​ ​the​ ​role​ ​the​ ​email

played​ ​in​ ​that​ ​process.

                    2.          Emails​ ​sent​ ​the​ ​immediate​ ​aftermath​ ​of​ ​the​ ​release​ ​of​ ​the​ ​state​ ​grand
                                jury​ ​presentment.

          Defendant​ ​is​ ​withholding​ ​parts​ ​of​ ​10​ ​emails​ ​that​ ​discuss​ ​commentary​ ​of​ ​the​ ​popular​ ​press

in​ ​the​ ​days​ ​subsequent​ ​to​ ​the​ ​release​ ​of​ ​the​ ​state​ ​grand​ ​jury​ ​presentment​ ​(Exhibit​ ​I)6.​ ​Like​ ​the

previously​ ​contested​ ​document,​ ​Defendant​ ​cites​ ​the​ ​work-product​ ​privilege​ ​and​ ​the

deliberative-process​ ​privilege​ ​for​ ​the​ ​withholding.​ ​Vaughn​ ​index,​ ​p.​ ​23-24.​ ​Defendant​ ​states​ ​the

redacted​ ​portions​ ​are​ ​“discussions​ ​...​ ​concerning​ ​legal​ ​and​ ​investigation​ ​strategies​ ​related​ ​to​ ​the

PSU/Sandusky​ ​investigation.”​ ​It​ ​claims​ ​that​ ​releasing​ ​this​ ​information​ ​would​ ​reveal​ ​the




6
 ​ ​These​ ​documents​ ​have​ ​been​ ​identified​ ​as​ ​EMAIL_0043527,​ ​EMAIL_0046636,​ ​EMAIL_0049085,
EMAIL_0049090,​ ​EMAIL_0049095,​ ​EMAIL_0049102,​ ​EMAIL_0049108,​ ​EMAIL_0049116,​ ​EMAIL_0049126
and​ ​EMAIL_0049135.


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government’s​ ​“discussion​ ​of​ ​legal​ ​strategies,​ ​theories​ ​and​ ​opinions​ ​related​ ​to​ ​the​ ​PSU/Sandusky

investigation.”​ ​Id​.

          The​ ​news​ ​media​ ​pieces​ ​contained​ ​in​ ​these​ ​emails​ ​are​ ​commentary.​ ​They​ ​are​ ​not

informing​ ​of​ ​any​ ​particular​ ​event​ ​or​ ​activity​ ​that​ ​would​ ​typically​ ​cause​ ​law​ ​enforcement​ ​to​ ​act​ ​or

effect​ ​any​ ​law​ ​enforcement​ ​proceeding.​ ​On​ ​their​ ​face,​ ​they​ ​do​ ​not​ ​appear​ ​to​ ​be​ ​the​ ​type​ ​of

document​ ​that​ ​would​ ​spur​ ​any​ ​sort​ ​of​ ​discussion​ ​about​ ​an​ ​official​ ​action​ ​the​ ​government​ ​should

or​ ​should​ ​not​ ​take.

          ​ ​The​ ​work-product​ ​privilege​ ​does​ ​not​ ​apply​ ​to​ ​the​ ​redacted​ ​information​ ​because​ ​when

these​ ​emails​ ​were​ ​sent,​ ​a​ ​law​ ​enforcement​ ​proceeding​ ​was​ ​not​ ​contemplated.​ ​Defendant’s​ ​own

Vaughn​ ​index​ ​states​ ​that​ ​litigation​ ​would​ ​only​ ​be​ ​contemplated​ ​“if​ ​it​ ​was​ ​determined​ ​that​ ​laws

were​ ​violated.”​ ​Defendant​ ​has​ ​not​ ​claimed​ ​that​ ​its​ ​work​ ​identified​ ​any​ ​violation​ ​of​ ​federal​ ​law,

and​ ​no​ ​charges​ ​were​ ​ever​ ​filed.​ ​In​ ​addition,​ ​these​ ​emails​ ​were​ ​sent​ ​only​ ​three​ ​days​ ​after​ ​the

release​ ​of​ ​the​ ​of​ ​the​ ​grand​ ​jury​ ​presentment7.​ ​It​ ​does​ ​not​ ​appear​ ​that​ ​any​ ​investigation​ ​by

USAOMDPA​ ​had​ ​been​ ​initiated​ ​at​ ​this​ ​time,​ ​and​ ​as​ ​a​ ​result,​ ​litigation​ ​could​ ​not​ ​have​ ​been

contemplated.​ ​Finally,​ ​the​ ​fact​ ​that​ ​Defendant​ ​chose​ ​to​ ​release​ ​portions​ ​of​ ​the​ ​documents

indicates​ ​that​ ​the​ ​work-product​ ​privilege​ ​does​ ​not​ ​apply​ ​because​ ​if​ ​it​ ​did,​ ​the​ ​documents​ ​would

be​ ​protected​ ​in​ ​their​ ​entirety.

          Defendant​ ​has​ ​likewise​ ​failed​ ​to​ ​prove​ ​that​ ​the​ ​documents​ ​are​ ​protected​ ​by​ ​the

deliberative​ ​process​ ​privilege​ ​because​ ​it​ ​has​ ​not​ ​identified​ ​any​ ​policy​ ​or​ ​decision​ ​to​ ​which​ ​the

email​ ​discussions​ ​pertained.

                    3.        Emails​ ​from​ ​the​ ​U.S.​ ​Attorney




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 ​ ​EMAIL_0046636​ ​is​ ​dated​ ​November​ ​22,​ ​2011.
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          Defendant​ ​is​ ​withholding​ ​portions​ ​of​ ​two​ ​emails​ ​authored​ ​by​ ​U.S.​ ​Attorney​ ​Peter​ ​J.

Smith​ ​(Exhibit​ ​J).​ ​The​ ​withholding​ ​is​ ​based​ ​on​ ​the​ ​attorney-work​ ​product​ ​and​ ​deliberative

process​ ​privileges.

          The​ ​work-product​ ​doctrine​ ​does​ ​not​ ​protect​ ​these​ ​emails​ ​because​ ​Defendant​ ​has​ ​failed​ ​to

prove​ ​that​ ​its​ ​investigation​ ​“focused​ ​upon​ ​specific​ ​events​ ​and​ ​a​ ​specific​ ​possible​ ​violation​ ​by​ ​a

specific​ ​party.”​ ​In​ ​Re:​ ​Sealed​ ​Case,​ ​supra.​ ​The​ ​deliberative​ ​process​ ​privilege​ ​does​ ​not​ ​protect

this​ ​document​ ​because​ ​it​ ​was​ ​authored​ ​by​ ​(former)​ ​U.S.​ ​Attorney​ ​Peter​ ​J.​ ​Smith,​ ​the​ ​ultimate

decision​ ​maker​ ​for​ ​USAOMDPA.​ ​Without​ ​describing​ ​the​ ​nature​ ​of​ ​the​ ​redacted​ ​information,

Defendant’s​ ​exemption​ ​claims​ ​must​ ​fail.

                    4.        ​ ​An​ ​email​ ​with​ ​the​ ​subject​ ​“calendar​ ​matter”

          Document​ ​EMAIL_0044684​ ​is​ ​an​ ​email​ ​from​ ​U.S.​ ​Attorney​ ​Smith​ ​whose​ ​subject​ ​is

“calendar​ ​matter”​ ​ ​(Exhibit​ ​K).​ ​Defendant​ ​is​ ​withholding​ ​portions​ ​of​ ​the​ ​email​ ​that​ ​discuss

“newspaper​ ​articles​ ​and​ ​other​ ​media​ ​that​ ​reported​ ​on​ ​various​ ​aspects​ ​of​ ​the​ ​PSU/Sandusky

matter.”​ ​Vaughn​ ​index,​ ​p.​ ​23-24.​ ​However,​ ​the​ ​email​ ​clearly​ ​does​ ​not​ ​involve​ ​any​ ​discussion​ ​of

any​ ​news​ ​media​ ​article.​ ​Finally,​ ​because​ ​the​ ​information​ ​was​ ​sent​ ​by​ ​the​ ​head​ ​of​ ​the​ ​agency,

they​ ​are​ ​unlikely​ ​to​ ​be​ ​of​ ​a​ ​predecisional​ ​or​ ​deliberative​ ​nature.

                    5.        Email​ ​discussion​ ​about​ ​an​ ​opinion​ ​piece​ ​to​ ​be​ ​published​ ​in​ ​newspaper.

          Defendant​ ​is​ ​withholding​ ​four​ ​emails​ ​that​ ​contain​ ​some​ ​discussion​ ​about​ ​an​ ​opinion​ ​piece

that​ ​was​ ​scheduled​ ​to​ ​be​ ​published​ ​in​ ​the​ ​Philadelphia​ ​Inquirer​ ​(Exhibit​ ​L).​ ​The​ ​author​ ​was​ ​Luke

Zubrod,​ ​presumably​ ​kin​ ​to​ ​Gordon​ ​Zubrod,​ ​the​ ​prosecutor​ ​who​ ​headed​ ​USAOMDPA’s

investigation.




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          Defendant​ ​cites​ ​the​ ​work-product​ ​and​ ​deliberative​ ​process​ ​privileges​ ​in​ ​withholding​ ​these

emails,​ ​but​ ​its​ ​description​ ​falls​ ​short.​ ​It’s​ ​unclear​ ​whether​ ​the​ ​author​ ​of​ ​these​ ​emails​ ​is​ ​an

attorney​ ​because​ ​Defendant​ ​only​ ​describes​ ​them​ ​as​ ​emails​ ​from​ ​“government​ ​attorneys​ ​and/or

law​ ​enforcement​ ​personnel.”​ ​Vaughn​ ​index,​ ​p.​ ​23.​ ​Similarly,​ ​it​ ​is​ ​hard​ ​to​ ​imagine​ ​an​ ​opinion

piece​ ​sparking​ ​a​ ​discussion​ ​about​ ​legal​ ​strategy​ ​that​ ​would​ ​qualify​ ​for​ ​protection​ ​under​ ​the

deliberative​ ​process​ ​privilege.




                                                       CONCLUSION

          For​ ​the​ ​foregoing​ ​reasons,​ ​Plaintiff​ ​respectfully​ ​asks​ ​this​ ​court​ ​to​ ​DENY​​ ​Defendant’s

motion​ ​for​ ​summary​ ​judgment​ ​and​ ​GRANT​​ ​Plaintiff’s​ ​motion​ ​for​ ​summary​ ​judgment.



                                                                       Respectfully​ ​submitted,



                                                                       _____________________
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